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The following constitutes the ruling of the court and has the force and effect therein described.




Signed June 7, 2021
______________________________________________________________________



                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION


                                                                       §
         In re:
                                                                       §   Chapter 11
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,1
                                                                       §   Case No. 19-34054-sgj11
                                                                       §
                                           Debtor.
                                                                       §
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                       §
                                                                       §   Adversary Proceeding No.
                                           Plaintiff,
                                                                       §
                                                                       §
         vs.                                                               Case No. 20-03190-sgj11
                                                                       §
                                                                       §
         JAMES D. DONDERO,
                                                                       §
                                           Defendant.
                                                                       §
                                                                       §



            MEMORANDUM OPINION AND ORDER GRANTING IN PART PLAINTIFF’S
           MOTION TO HOLD JAMES DONDERO IN CIVIL CONTEMPT OF COURT FOR
                            ALLEGED VIOLATION OF TRO2

     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
         This Order addresses the Motion filed at DE # 48 in above-referenced Adversary Proceeding.
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        You know, this is -- I hate to say it, but I feel like I've been in the role of a divorce judge
today. We have very much a corporate divorce that has been in the works . . . and I'm a judge
having to enter interim orders keeping one spouse away from the other, keeping one spouse out
of the house, keeping one spouse away from the kids. It's not pleasant at all.

       Transcript from 1/8/21 Hearing at 194:1-9. [DE # 80, Exh. 36].

       I.      Introduction.

       The above quote aptly describes the above-referenced 20-month-old corporate bankruptcy

case: it has, at times, become very much like a nasty divorce—in which one spouse (here, the

company) is very much at odds with the other spouse (here, the company’s former CEO). It is

contentious, protracted, and unpleasant.

       For a while, things were a bit like a situation where one spouse has filed for divorce, but

both spouses remain living under the same roof for a while—rather than physically separating—for

the perceived best interests of the family. This co-habitation eventually became untenable.

       Next, things developed similarly to a situation in which one spouse wants to keep the family

vacation home, boat, or mutual funds (i.e., the husband), but the other spouse (i.e., the one who

happens to have custody and control over them) thinks the assets need to be liquidated to pay off

the family’s expenses or debt.

       Also, this corporate divorce, sadly, is similar to a situation in which one spouse criticizes

the other’s new partner who has moved into the family home and also bears animus towards the

spouse’s lawyers. He thinks they are, collectively, mismanaging everything and taking actions

towards him out of pure spite.




                                                  2
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           It’s also similar to a situation in which one spouse is endeavoring to have members of the

other spouse’s household assist or cooperate with him in various ways, in his efforts to get what he

perceives to be his fair share in the divorce.

           And, finally, it is similar to a situation in which one spouse finally decides to seek a TRO

against the other—for fear (legitimate or not) that the ex-spouse is about to burn the house down.

           There is a bit of irony in all of this because the spouse (i.e., former CEO) who is the alleged

antagonist is the one who signed the divorce (i.e., bankruptcy) petition to start the proceedings.

           Divorce metaphors aside, this Order relates to a request by Chapter 11 Debtor Highland

Capital Management, L.P. (the “Debtor” or “Highland”), made shortly before its Chapter 11 plan

was confirmed,3 that its co-founder, former President, former Chief Executive Officer (“CEO”),

and indirect beneficial equity owner—Mr. James Dondero (“Mr. Dondero”)—be held in civil

contempt of court for allegedly violating a temporary restraining order (“TRO”) of this court.4 The

TRO that Mr. Dondero is alleged to have violated arose in the above-referenced adversary

proceeding (“Adversary Proceeding”) that the Debtor filed December 7, 2020. A brief summary of

the circumstances leading up to the Adversary Proceeding and the TRO is set forth below.



3
    As of the date of issuance of this Order, the Debtor’s confirmed plan has not yet gone effective.
4
  In addition to being the former CEO, Mr. Dondero represents that he is a “creditor, indirect equity security holder,
and party in interest” in the Debtor’s bankruptcy. This court has stated on various occasions that this assertion is
ostensibly true, but somewhat tenuous. Mr. Dondero filed five proofs of claim in the Debtor’s bankruptcy case. Two
of those proofs of claim were withdrawn with prejudice on November 23, 2020 [DE # 1460 in main bankruptcy case].
The other three are unliquidated, contingent claims, each of which stated that Mr. Dondero would “update his claim
in the next ninety days.” Ninety days has long-since passed since those proofs of claim were filed and Mr. Dondero
has not updated those claims to this court’s knowledge. With regard to Mr. Dondero’s assertion that he is an “indirect
equity security holder,” the details have been represented to the court many times to be as follows (undisputed): Mr.
Dondero holds no direct equity interest in the Debtor. Mr. Dondero instead owns 100% of Strand Advisors, Inc.
(“Strand”), the Debtor’s general partner. Strand, however, holds only 0.25% of the total limited partnership interests
in the Debtor through its ownership of Class A limited partnership interests. The Class A limited partnership interests
are junior in priority of distribution to the Debtor’s Class B and Class C limited partnership interests. The Class A
interests are also junior to all other claims filed against the Debtor. Finally, Mr. Dondero’s recovery on his indirect
equity interest is junior to any claims against Strand itself. Consequently, before Mr. Dondero can recover on his
indirect equity interest, the Debtor’s estate must be solvent, priority distributions to Class B and Class C creditors
must be satisfied, and all claims against Strand must be paid.

                                                             3
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           II.     Background: The Chapter 11 Case.

           On October 16, 2019 (the “Petition Date”), Highland filed a voluntary petition for relief

under chapter 11 of the Bankruptcy Code. Highland is a registered investment advisor that is in the

business of buying, selling, and managing assets on behalf of its managed investment vehicles. It

manages billions of dollars of assets—to be clear, the assets are spread out in numerous, separate

fund vehicles. While the Debtor has continued to operate and manage its business as a debtor-in-

possession, the role of Mr. Dondero vis-à-vis the Debtor was significantly limited early in the

bankruptcy case and ultimately terminated. The Debtor’s current CEO is an individual selected by

the creditors named James P. Seery.

           Specifically, early in the case, the Official Unsecured Creditors Committee (“UCC”) and

the U.S. Trustee (“UST”) desired to have a Chapter 11 Trustee appointed—absent some major

change in corporate governance5—due to conflicts of interest and the alleged self-serving, improper

acts of Mr. Dondero and possibly other officers (for example, allegedly engaging, for years, in

fraudulent schemes to put Highland’s assets out of the reach of creditors). Under this pressure, the

Debtor negotiated a term sheet and settlement with the UCC (the “January 2020 Corporate

Governance Settlement”), which was executed by Mr. Dondero and approved by a court order on

January 9, 2020 (the “January 2020 Corporate Governance Order”).6 The settlement and term sheet

contemplated a complete overhaul of the corporate governance structure of the Debtor. Mr.

Dondero resigned from his role as an officer and director of the Debtor and of its general partner.

Three new independent directors (the “Independent Board”) were appointed to govern the Debtor’s

general partner Strand Advisors, Inc.—which, in turn, managed the Debtor. All of the new




5
    The UST was steadfast in wanting a Trustee.
6
    See DE ## 281 & 339 in main bankruptcy case. See also Dondero Exh. 8 (DE # 106 in the Adversary Proceeding).

                                                        4
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Independent Board members were selected by the UCC and are very experienced within either the

industry in which the Debtor operates, restructuring, or both (Retired Bankruptcy Judge Russell

Nelms, John Dubel, and James P. Seery). As noted above, one of the Independent Board members,

James P. Seery (“Mr. Seery”), was ultimately appointed as the Debtor’s new CEO and CRO.7 As

for Mr. Dondero, while not originally contemplated as part of the January 2020 Corporate

Governance Settlement, the Debtor proposed at the hearing on the January 2020 Corporate

Governance Settlement that Mr. Dondero remain on as an unpaid employee of the Debtor and also

continue to serve as and retain the title of a portfolio manager for certain separate non-Debtor

investment vehicles/entities whose funds are managed by the Debtor.8 The court approved this

arrangement when the UCC ultimately did not oppose it. Mr. Dondero’s authority with the Debtor

was subject to oversight by the Independent Board.9 Mr. Seery was given authority to oversee the

day-to-day management of the Debtor, including the purchase and sale of assets held by the Debtor

and its subsidiaries, as well as the purchase and sale of assets that the Debtor manages for various

separate non-Debtor investment vehicles/entities. Significant to the court and the UCC was a

provision in the order, at paragraph 9, stating that “Mr. Dondero shall not cause any Related Entity

to terminate any agreements with the Debtor.”

           To be sure, this was a complex arrangement. Apparently, there were well-meaning

professionals in the case that thought that having the founder and “face” behind the Highland brand



7
    “CRO” means Chief Restructuring Officer. See DE # 854 in main bankruptcy case, entered July 16, 2020.
8
 Although not discussed at the time, the court has become aware that Mr. Dondero has been a paid employee of the
Non-Debtor Highland-Related Entities known as NexPoint and/or NexBank postpetition. See 1/8/21 Hearing
Transcript, Debtor Exh. 36 (DE # 80) at 107:20-23.
9
  “Mr. Dondero’s responsibilities in such capacities shall in all cases be as determined by the Independent Directors .
. . [and] will be subject at all times to the supervision, direction and authority of the Independent Directors. In the
event the Independent Directors determine for any reason that the Debtor shall no longer retain Mr. Dondero as an
employee, Mr. Dondero agrees to resign immediately upon such determination.” See Debtor’s Exh. 2, at Exh. 1 thereto,
at 3 of 62 (DE # 80).

                                                          5
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still involved with the business might be value-enhancing for the Debtor and its creditors (even

though Mr. Dondero was perceived as not being the type of fiduciary needed to steer the ship

through bankruptcy). For sake of clarity, it should be understood that there are at least hundreds of

entities—the lawyers have sometimes said 2,000 entities—within the Highland byzantine

organizational structure (sometimes referred to as the “Highland complex”), most of which are not

subsidiaries of the Debtor, nor otherwise owned by Highland. And only Highland itself is in

bankruptcy. However, these entities are very much intertwined with Highland—in that they have

shared services agreements, sub-advisory agreements, payroll reimbursement agreements, or

perhaps, in some cases, less formal arrangements with Highland. Through these agreements

Highland (through its own employees) has historically provided resources such as fund managers,

legal and accounting services, IT support, office space, and other overhead. Many of these non-

Debtor entities appear to be under the de facto control of Mr. Dondero—as he is the president and

portfolio manager for many or most of them—although Mr. Dondero and certain of these entities

stress that these entities have board members with independent decision-making power and are not

the mere “puppets” of Mr. Dondero (for ease of reference, these numerous entities will be referred

to as the “Non-Debtor Dondero-Related Entities”). This court has never been provided a complete

organizational chart that shows ownership and affiliations of all 2,000 Non-Debtor Dondero-

Related Entities (such a chart would, no doubt, be the size of a football field), but the court has, on

occasion, been shown information about some of them and is aware that a great many of them were

formed in non-U.S. jurisdictions, such as the Cayman Islands.

       Eventually, the Debtor’s new Independent Board and management concluded that it was

untenable for Mr. Dondero to continue to be employed by the Debtor in any capacity. Various

events occurred that led to the termination of his employment with the Debtor. For one thing, Mr.



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Dondero prominently opposed certain actions taken by the Debtor through its CEO and Independent

Board including: (a) objecting to a significant settlement that the Debtor had reached in court-

ordered mediation10 with creditors Acis Capital Management and Josh and Jennifer Terry (the “Acis

Settlement”)—which settlement helped pave the way toward a consensual Chapter 11 plan, and (b)

pursuing, through one of his family trusts (the Dugaboy Investment Trust), a proof of claim alleging

that the Debtor (including Mr. Seery) had mismanaged one of the Debtor’s subsidiaries, Highland

Multi Strategy Credit Fund, L.P. (“MSCF”), with respect to the sale of certain of its assets during

the bankruptcy case (in May of 2020).11 The Debtor’s Independent Board and management

considered these two actions to create a conflict of interest—if Mr. Dondero was going to litigate

significant issues against the Debtor in court, that was his right, but he could not continue to work

for the Debtor (among other things, having access to its computers and office space) while litigating

these issues with the Debtor in court.

            But the termination of his employment was not the end of the friction between the Debtor

and Mr. Dondero. In fact, a week after his termination, litigation posturing and disputes began

erupting between Mr. Dondero and certain Non-Debtor Dondero-Related Entities, on the one hand,

and the Debtor on the other (as further described below).

            III.    The Impetus for the Adversary Proceeding.

            The Adversary Proceeding centers significantly around two Non-Debtor Dondero-Related

Entities known as NexPoint Advisors, L.P. (“NexPoint”) and Highland Capital Management Fund

Advisors, L.P. (“HCMFA,” and together with NexPoint, the “Advisors”)—both of which, like



10
  The court appointed Retired Bankruptcy Judge Allan Gropper, S.D.N.Y., and Attorney Sylvia Mayer, Houston,
Texas (both with the American Arbitration Association), to be co-mediators over multiple disputes in the Bankruptcy
Case, including the Acis dispute. The co-mediators, among other things, attempted to mediate disputes/issues with
Mr. Dondero.
11
     See, e.g., Proof of Claim No. 177 and DE # 1154 in main bankruptcy case.

                                                           7
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Highland, are registered investment advisors. Mr. Dondero is President of NexPoint and has an

ownership interest in it.12 Mr. Dondero is President of HCMFA and has an ownership interest in it

as well.13

           A. Alleged Interference with the Debtor’s Management of the Highland CLOs.

           The Advisors separately manage three funds (“NexPoint/HCMFA Funds”). The Advisors

and these NexPoint/HCMFA Funds own, among other things, equity interests in certain pooled

collateralized loan obligation (“CLO”) vehicles that are managed by the Debtor (hereinafter the

“Highland CLOs”). A key fact here to remember is that the CLO vehicles are managed by the

Debtor (pursuant to contracts and neither the Advisors nor the NexPoint/HCMFA Funds are parties

to such contracts).

           Generally speaking, the term/acronym “CLO” is loosely used in the investment world to

refer to a special purpose entity (“CLO SPE”), in which a manager (here, Highland) purchases a

basket of loans to be held in the CLO SPE. The loans in the basket would typically be obligations

of large well-known public companies and, collectively, provide a variable rate of interest. The

CLO manager typically has discretion to buy and sell different loans to go into the pool of assets,

with certain restrictions. There are, meanwhile, tranches of investors who invest funds into the CLO

SPE, pursuant to an indenture (with an independent, third-party indenture trustee in place) so that

the CLO SPE can purchase the loans, and those investors receive fixed interest from the CLO SPE

(with the CLO SPE earning income on the “spread” between: (a) the variable interest being earned

on the pool of loans in the CLO SPE’s portfolio and (b) the amount of fixed interest the CLO SPE

must pay out to its tranches of investors). This description, again, is a bit of a generalization. In




12
     1/8/21 Hearing Transcript, Debtor’s Exh. 36 at 35:9-25 (DE # 80).
13
     1/8/21 Hearing Transcript, Debtor’s Exh. 36 at 36:10-14 (DE # 80).

                                                           8
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the case of the Highland CLOs (there are approximately 16 of them), many of them are quite old

and do not have the typical diverse portfolio of loans that CLOs commonly have. Many of the

CLOs are structured as closed-end investment funds and, in fact, own equity in post-reorganization

companies (that are publicly traded and quite liquid) and some even own real estate.14 In any event,

as mentioned, the Debtor serves as portfolio manager on the numerous Highland CLOs (there more

than a dozen), pursuant to separate portfolio management agreements that Highland has with the

CLO SPEs. There are about $1 billion of assets in these CLO SPEs that Highland manages.15 And,

to be clear, the Advisors and NexPoint/HCMFA Funds own equity (i.e., the bottom tranche) in most

if not all of these Highland CLOs.

            The Debtor has alleged in this Adversary Proceeding that the Advisors, acting under the

direction of their President Mr. Dondero, have interfered multiple times with Mr. Seery’s attempts

to sell various assets in the CLO SPEs, by, among other things, exerting pressure on certain of the

Debtor’s employees to halt trades that were ordered by Mr. Seery. To be clear, the Advisors have

no contractual right to do that—they are not party to the portfolio management agreements that

Highland has with the CLO SPEs. The Advisors simply purport to speak for various investors (i.e.,

the investors in the NexPoint/HCMFA Funds) who have invested in (i.e., own the equity) in the

Highland CLOs. However, it appears that the majority of these investors are yet other Non-Debtor

Dondero-Related Entities, including but not limited to the entities known as Charitable DAF

HoldCo, Ltd. and CLO Holdco, Ltd.16 In any event, various examples of communications that


14
     See 1/26/21 Hearing Transcript, Debtor’s Exh. 37 at 155:9-18 (DE # 80).
15
     See id. at 202: 3-7.
16
  See Debtor’s Exh. 2, Exh. 7 thereto (DE # 80). There may be some “mom and pop” or unrelated institutional
investors in certain of these Highland CLOs (indirectly through the NexPoint/HCMFA Funds), see 1/26/21 Hearing
Transcript, Debtor Exh. 37 (DE # 80), at 201:14-22, but none have ever come forward during the Highland bankruptcy.
Moreover, the Debtor aptly notes that there is nothing preventing unhappy investors from simply selling their
investments in the Highland CLOs if they are not happy with management decisions of the portfolio manager.


                                                          9
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allegedly constituted interference were described in the Adversary Proceeding.17 The court notes,

anecdotally, that Mr. Dondero was continuing, well after his October 9, 2020 termination with the

Debtor, to use an email address showing he was an employee of Highland in many of the

communications introduced into evidence.18

           B. Alleged Threats When Debtor Attempted to Collect Demand Notes from Mr. Dondero.

           Additionally, the Adversary Proceeding describes that there are certain demand notes on

which Mr. Dondero, personally, and certain Non-Debtor Dondero-Related Entities owe significant

money to the Debtor. The Debtor made demand upon Mr. Dondero for payment on these demand

notes on December 3, 2020, demanding payment by December 11, 2020, so that the Debtor could

have these funds to use in its Chapter 11 plan that was set for confirmation in January 2021. Mr.

Dondero is alleged to have sent a threatening text to Mr. Seery, just a few hours after the demand

letters were sent to him.

           After describing Mr. Dondero’s alleged conduct, the complaint in the Adversary Proceeding

sought injunctive relief preventing Mr. Dondero from interfering with the Debtor’s operations,

management of assets, and pursuit of a plan of reorganization, to the detriment of the Debtor, its

estate, and its creditors, relying on 11 U.S.C. § 105 and Fed. R. Bankr. Pro. 7065. The Debtor has

argued that Mr. Dondero’s actions have jeopardized the Debtor’s ability to effectively wind down

its business in the Chapter 11 proceedings—to the detriment of its creditors.




17
  Debtor’s Exh. 3, DE # 80 (10/16/20 letter from counsel for Advisors expressing “concerns” about the Debtor’s
management of the Highland CLOs and a desire that management be transitioned over to the Advisors); Debtor’s Exh.
4, DE # 80 (11/24/20 letter from counsel for the Advisors further expressing “concerns” about the Debtor’s
management of Highland CLOs, especially the selling of assets therein); Debtor’s Exh. 5, DE # 80 (11/24/20-11/27/20
emails of Mr. Dondero instructing Highland employee Hunter Covitz not to trade SKY equity as he had been instructed
by James Seery); Debtor’s Exh. 14, DE # 80 (12/24/20 letter of Debtor’s counsel to counsel for the Advisors addressing
some of their clients’ actions).
18
     See, e.g., Debtor’s Exh. 5 (DE # 80).

                                                         10
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           IV.       Motion for TRO [DE # 6].

           Almost immediately after filing the Adversary Proceeding, the Debtor sought entry of a

TRO enjoining Mr. Dondero from: (a) communicating (whether orally, in writing, or otherwise),

directly or indirectly, with any Independent Board member unless Mr. Dondero’s counsel and

counsel for the Debtor were included in any such communication; (b) making any express or

implied threats of any nature against the Debtor or any of its directors, officers, employees,

professionals, or agents; (c) communicating with any of the Debtor’s employees, except as it

specifically related to shared services currently provided by the Debtor to affiliates owned or

controlled by Mr. Dondero; (d) interfering with or otherwise impeding, directly or indirectly, the

Debtor’s business, including but not limited to the Debtor’s decisions concerning its operations,

management, treatment of claims, disposition of assets owned or controlled by the Debtor, and

pursuit of the Plan or any alternative to the Plan; and (e) otherwise violating section 362(a) of the

Bankruptcy Code (collectively, the “Prohibited Conduct”). It was supported by a Memorandum of

Law19 and a Declaration of Mr. Seery.20

           The court held a hearing on December 10, 2020 on the Motion for TRO.

           A. The Evidence at the TRO Hearing.

           At the hearing on the Motion for TRO, the Debtor relied upon the Declaration of Mr. Seery

and all exhibits that had been attached thereto (which the court admitted with no objection).21 The

court also heard a small amount of additional live testimony from Mr. Seery. Mr. Dondero’s




19
     See DE # 6.
20
     See DE # 4 (with 29 exhibits attached, 177 pages in total length).
21
     Id.


                                                            11
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counsel appeared and made some statements but did not file a responsive pleading or put on any

evidence.

           Mr. Seery credibly testified that, pursuant to the January 2020 Corporate Governance

Settlement, Mr. Dondero surrendered control of the Debtor to the Independent Board. After that

January 2020 Corporate Governance Settlement, Mr. Dondero’s responsibilities with the Debtor

were to be, in all cases, as determined by the Independent Board and subject at all times to the

supervision, direction and authority of the Independent Board. In the event the Independent Board

was to determine for any reason that the Debtor should no longer retain Mr. Dondero as an

employee, Mr. Dondero agreed to resign immediately upon such determination.22 By resolution

passed on January 9, 2020, the Independent Board authorized Mr. Seery to work with the Debtor’s

traders and approve trades of certain of the Debtor’s and funds’ assets.23 However, up until mid-

March 2020, Mr. Dondero controlled certain of the Debtor’s managed funds and accounts (as he

still maintained the title of portfolio manager). Mr. Seery credibly testified that “[w]e took them

away after they lost considerable amounts of money, about ninety million bucks. Real money. So

we took over control of those accounts since then, and we've been managing to sell them down to

create cash where we think the market opportunity is correct.”24

           Later, however, during the summer of 2020, the Independent Board determined that it was

in the best interests of the Debtor’s estate to formally appoint Mr. Seery as the Debtor’s CEO and

CRO (i.e., not just an Independent Board member with trading authority). The bankruptcy court

approved Mr. Seery’s appointment as CEO and CRO on July 16, 2020.25 Mr. Seery’s appointment


22
     Debtor’s Exh. 1, at pp. 2-3 (DE # 80).
23
     Debtor’s Exh. 3, at p. 2 (DE # 80).
24
     12/10/20 Transcript from TRO Hearing, at p. 51:21-25 (DE # 19).
25
     DE # 854 in main bankruptcy case.


                                                         12
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as CEO and CRO formalized his role and his authority to oversee the day-to-day management of

the Debtor, including the purchase and sale of assets held by the Debtor and its managed investment

vehicles, funds, and subsidiaries. Mr. Seery credibly represented that he has routinely carried out

such responsibilities during the case.

            On August 12, 2020, the Debtor filed its Plan of Reorganization with the court26 (as

subsequently amended, the “Plan”). The Plan provided for, among other things, the gradual

monetization of the Debtor’s assets for the benefit of the Debtor’s creditors. Also in August 2020,

the Debtor entered into court-ordered mediation with certain of its creditors which resulted in,

among other things, the Acis Settlement (mentioned earlier). After the Acis Settlement was publicly

announced, Mr. Dondero voiced his displeasure with not just the terms of the Acis Settlement, but

that a settlement had been reached at all. On October 5, 2020, Mr. Dondero objected to the Debtor’s

motion seeking approval of the Acis Settlement, which the Debtor believed created an actual

conflict with the Independent Board and the Debtor.27 Additionally, one of Mr. Dondero’s family

trusts also filed a proof of claim alleging the Debtor and Mr. Seery were mismanaging the assets of

a subsidiary of the Debtor.28 Concluding that this situation was untenable, Mr. Dondero was asked

to resign from the Debtor, and he did on October 9, 2020.29

            Subsequent to Mr. Dondero’s termination from the Debtor, he began engaging in activities

that the Debtor perceived to be interference with its business judgment and management of the

Highland CLOs. Approximately one week after Mr. Dondero resigned, the Advisors began writing

letters to Mr. Seery requesting, among other things, that “no [Highland] CLO assets be sold without



26
     DE # 944 in main bankruptcy case.
27
     DE # 1121 in main bankruptcy case; Debtor’s Exh. 2 (Mr. Seery’s Decl.) at ¶ 11; DE # 80.
28
     Id. at ¶ 12.
29
     Debtor’s Exhs. 4-5 (DE # 80).


                                                          13
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prior notice and consent from the Advisors.”30 Not only is the Advisors’ consent for Highland CLO

assets sales not contractually required, but the Debtor’s Chapter 11 plan (then on file, now

confirmed) contemplates the gradual wind down of Highland’s business over time so that it will

have funds to pay its creditors. In fact, Mr. Seery credibly testified that the business model of

Highland in recent years (under the direction of Mr. Dondero—and with its web and layers of

entities) has not allowed Highland itself to operate at a profit.31 Thus, interference with assets sales

in the Highland CLOs seemed equivalent to interference with, not just the Debtor’s efforts to

manage the business in ways that allowed it to pay its expenses, but also interference with the

Debtor’s Chapter 11 plan.

           In the November 24-27, 2020 time period (again, just a few weeks after Mr. Dondero’s

termination from the Debtor), Mr. Dondero sent various emails to both Debtor and Advisor

employees (e.g., Matt Pearson, Hunter Covitz, Joe Sowin, and Tom Surgent) telling them he had

instructed the Debtor not to engage in trades of Highland CLO assets and that they should not

engage in certain trades of Highland CLO assets that Mr. Seery had instructed them to make.32 A

review of this correspondence makes apparent the underlying conflicts of interest present—

Highland was attempting to gradually wind down its business and monetize its managed assets for

the benefit of its creditors (and this court believes—all the while—balancing its fiduciary duties to

investors in such funds) and, meanwhile, Mr. Dondero (wearing his hat as a portfolio manager for,

and indirect equity owner in, certain of the Non-Debtor Dondero-Related Entities—i.e., the



30
     Debtor’s Exh. 6, p.2 (DE # 80); see also Debtor’s Exh. 7 (DE # 80).
31
   Apparently, the Debtor even offered to assign Highland’s CLO management agreements to Mr. Dondero’s
affiliate, NexPoint (in early December 2020), but Mr. Dondero thought the proposed terms were untenable. See DE
# 50, John Morris Decl., Exh. Z thereto (January 5, 2021 Deposition Transcript of Mr. Dondero, at 101:11-25).
32
     Debtor’s Exh. 8 (DE # 80).



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Advisors and the NexPoint/HCMFA Funds) did not want assets sold as part of a wind down. Mr.

Dondero, it appears to this court, was putting his own and the Non-Debtor Dondero-Related

Entities’ interests (as investors in the Highland CLOs) ahead of Highland’s creditors and the

Highland CLOs, as a whole. But, Highland had duties to its creditors and to the Highland CLOs as

a whole, and not to the Advisors or their funds (as investors in or equity owners in the Highland

CLOs). Mr. Seery further credibly explained the situation, and the harm the interference caused the

bankruptcy estate, as follows: “We intend to continue to manage the CLOs, we intend to assume

those contracts [i.e., the portfolio management agreements for the Highland CLOs], we intend to

manage them post-confirmation, after exit from bankruptcy. And causing confusion among the

employees, preventing the Debtor from consummating trades in the ordinary course, deferring those

transactions, we thought put the estate at significant risk, in addition to the cost.”33 The Highland

CLOs generate fee income for the Debtor. Not all of them have liquid assets that are able to pay

quarterly fees. Some owe deferred fees to Highland.34

           The Debtor thereafter sent communications instructing the Advisors and Mr. Dondero to

cease and desist their interference, indicating that Mr. Dondero’s actions interfered with the

management of the Debtor’s bankruptcy estate and the property of such estate, in violation of the

Bankruptcy Code and the January 9, 2020 Order.35

           Meanwhile, around this same time period, the Debtor sent demand letters36 to Mr. Dondero

and certain Non-Debtor Dondero-Related Entities, each of whom are obligated to the Debtor on

various demand notes, pursuant to which approximately $30 million is collectively owed to the



33
     Debtor’s Exh. 37 at 166:6-13 (DE # 80).
34
     Id. 166-167.
35
     Debtor’s Exhs. 9 & 10 (DE # 80).
36
     Debtor’s Exhs. 24-27 (DE # 80).


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Debtor.37 Collection on these notes was part of the Debtor’s liquidity plan, to help pay creditors

under its Chapter 11 plan. Mr. Seery credibly testified that Mr. Dondero’s response was a text

message that stated: “Be careful what you do, last warning.”38

           The next day, Debtor’s counsel sent Mr. Dondero’s counsel correspondence demanding that

he “cease and desist from (a) communicating directly with any Board member without counsel for

the Debtor, (b) making any further threats against HCMLP or any of its directors, officers,

employees, professionals, or agents, or (c) communicating with any of HCMLP’s employees,

except as it specifically relates to shared services currently provided to affiliates owned or

controlled by Mr. Dondero.” The letter put Mr. Dondero on notice that the above-referenced

Adversary Proceeding and Motion for TRO would be filed.

           B. Entry of the TRO.

           After hearing the evidence at the TRO Hearing, the court determined that the Debtor had

met its burden of proving the need for a TRO. The court issued the TRO39 which temporarily

enjoined Mr. Dondero from “(a) communicating (whether orally, in writing, or otherwise), directly

or indirectly, with any Board member unless Mr. Dondero’s counsel and counsel for the Debtor are

included in any such communication; (b) making any express or implied threats of any nature

against the Debtor or any of its directors, officers, employees, professionals, or agents; (c)

communicating with any of the Debtor’s employees, except as it specifically relates to shared

services currently provided to affiliates owned or controlled by Mr. Dondero; (d) interfering with

or otherwise impeding, directly or indirectly, the Debtor’s business, including but not limited to the




37
     Debtor’s Exhs. 11-23 (DE # 80).
38
     Debtor’s Exh. 28 (DE # 80).
39
     See DE # 10; see also Debtor’s Exh. 11 (DE # 80).


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Debtor’s decisions concerning its operations, management, treatment of claims, disposition of

assets owned or controlled by the Debtor, and pursuit of the Plan or any alternative to the Plan; and

(e) otherwise violating section 362(a) of the Bankruptcy Code (collectively, the ‘Prohibited

Conduct’).” Mr. Dondero was further temporarily enjoined “from causing, encouraging, or

conspiring with (a) any entity owned or controlled by him, and/or (b) any person or entity acting

on his behalf, from, directly or indirectly, engaging in any Prohibited Conduct.”

           V.     The Contempt Motion Now Before the Court.

           Less than a month after entry of the TRO, on January 7, 2021, Highland filed Plaintiff’s

Motion for an Order Requiring Mr. James Dondero to Show Cause Why He Should Not Be Held in

Civil Contempt for Violating the TRO (the “Contempt Motion”),40 which was supported by a

Memorandum of Law41 and a Declaration of John Morris with Exhs. G, K, L, M, N, P, Q, R, S, U,

W, X, Y, Z attached.42 Highland alleges Mr. Dondero violated the TRO as follows: (a) he willfully

ignored it by not reading the TRO, the underlying pleadings, and allegations that supported it, nor

did he listen to the hearing at which it was entered or make any meaningful effort to understand the

scope of it; (b) he threw in the garbage his Highland-furnished cell phone, in what the Debtor

believes was an attempt to evade discovery; (c) he trespassed on the Debtor’s property after the

Debtor had evicted him because the Debtor believed he was interfering with the Debtor’s business;

(d) he interfered with the Debtor’s trading of Highland CLO assets; (e) he pushed and encouraged

the Advisors and NexPoint/HCMFA Funds to make further demands and threats against the Debtor

regarding the trading of Highland CLO assets; (f) he communicated with the Debtor’s inhouse


40
     DE # 48.
41
     DE # 49.
42
     DE # 50.




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counsel, Scott Ellington and Isaac Leventon, before they were terminated from Highland, to

coordinate legal his own strategy against the Debtor; and (g) he interfered with the Debtor’s

obligation to produce certain documents that were requested by the UCC and that were in the

Debtor’s possession, custody and control.

           The court held an evidentiary hearing on the Contempt Motion on March 22, 2021 (with

closing arguments March 24, 2021). The court considered dozens of exhibits43 and testimony from

two witnesses (Mr. Dondero and the Debtor’s current CEO, James Seery). The Debtor asserted

that there were seventeen different violations of the TRO. To be clear, this Contempt Motion deals

solely with whether Mr. Dondero violated the TRO after its entry on December 10, 2020 at 1:31

pm CST, up through the time of the filing of the Contempt Motion on January 7, 2021.44 In fact,

the court has subsequently entered a Preliminary Injunction45 and Agreed Injunction46 resolving

this Adversary Proceeding but reserved jurisdiction to rule on the earlier-filed Contempt Motion.

           A. The Evidence Regarding Whether Mr. Dondero Willfully Ignored the TRO by Not
              Reading It or the Underlying Pleadings and Allegations that Supported It; by Not
              Attending the Hearing Thereon; and by Not Making Any Meaningful Effort to
              Understand the Scope of the TRO.

           The Debtor argues that Mr. Dondero’s willful ignorance of both the TRO, and the

underlying evidence presented in connection with the TRO, is in and of itself contemptible.




43
  The court admitted Debtor’s Exhibits #1, #2, #7, #8, #9, #10, #11, #12, #13, #14, #15, #17, #18, #19, #20, #21, #22,
#24, #25, #26, #27, #28, #33, #35, #36, #37, #38, #39, #47 through #57 (found at DE ## 80, 101, & 128), and Mr.
Dondero’s Exhibits #1 through #20 (found at DE # 106).
44
  The Debtor initially sought an expedited hearing on the Contempt Motion for January 8, 2021—the same day that
the Debtor’s request for a preliminary injunction was set for hearing. The court denied the request for an expedited
hearing on the Contempt Motion—believing this was not enough notice to Mr. Dondero. So, there was a hearing on
a request for a preliminary injunction only on January 8, 2021 (which was granted ultimately). To be clear, Mr.
Dondero and his counsel had approximately 75 days to prepare for the hearing on this matter.
45
     DE # 59.
46
     DE # 182.


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           The evidence on this point is that Mr. Dondero testified multiple times in connection with

this Adversary Proceeding47 that he had not: (a) reviewed the Declaration of James P. Seery, Jr.,

the Debtor’s Chief Executive Officer, in support of the TRO Motion; (b) attempted to learn of the

allegations made against him; (c) thought about the fact that the Debtor was seeking a restraining

order against him; (d) listened to the hearing where the court admitted evidence and heard argument

on the Debtor’s motion; (e) read the transcript of the hearing at which the court granted the Debtor’s

motion for the TRO; (f) read the TRO after it was entered; or (g) made any meaningful effort to

understand the scope of the TRO.48

           But on later examination by his counsel at the Hearing on the Contempt Motion itself, Mr.

Dondero testified as follows:

           Q Did you have an opportunity to ask your counsel questions about the TRO?

           A Yes.

           Q And did you rely on your counsel to explain to you what the TRO meant?

           A Yes.

           Q And in the weeks that followed the entry of the TRO, did you continue to seek advice
           from your counsel regarding what you could and could not do under the TRO?

           A Yes.

           Q And why did you do that?

           A Again, to stay compliant, not -- to stay compliant any specific tripwires or any trickery
           that might have been in the agreement.49

47
  The court will refer frequently herein to three Transcripts and hereinafter use the following defined terms for ease
of reference: (a) the January 5, 2021 Transcript from Mr. Dondero’s deposition in connection with this matter, found
as an attachment to the John Morris Declaration, DE # 50, at Exh. Z (“1/5/21 Transcript”); (b) the January 8, 2021
Transcript from the hearing on the Motion for Preliminary Injunction, which was admitted as Debtor’s Exh. 36 at the
Hearing on the Contempt Motion (“1/8/21 Transcript”); and (c) the March 22, 2021 Transcript from the Hearing on
the Contempt Motion, which is found at DE # 138 (“3/22/21 Transcript”).
48
  See 1/5/21 Transcript at 12:17-15:14; 1/8/21 Transcript at 23:10-12 and 101:13-14; 3/22/21 Transcript at 30:20-22;
35:6-16. See also 1/5/21 Transcript at 84:8-16; 3/22/21 Transcript at 35:20-36:1.
49
     3/22/21 Transcript at 130:6-19.

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           Mr. Dondero went on to testify: “Yeah, I -- again, I take seriously anything that comes from

the Court, and I did adjust my behavior, but the overall theme, that somehow I was doing something

to hurt the creditor or hurt the Debtor or hurt investors I viewed as incongruent with any of my

behavior. So I didn't think it was going to require much adjustment.”50

           The court concludes that Mr. Dondero’s testimony was very inconsistent on when and how

carefully he read the TRO. Whether this amounted to contempt of the TRO will be addressed in the

Conclusions of Law section below.

           B. The Evidence Regarding Whether Mr. Dondero Disposed of His Highland-Furnished
              Cell Phone to Evade Discovery.


                    First, the Highland Cell Phone Policy.

           The evidence is undisputed that Highland had a cell phone policy for all of its employees

dated March 27, 2012 that still remained in place at all relevant times during this bankruptcy case.51

Employees could, among other things, have their cell phone expenses reimbursed by Highland. Mr.

Dondero participated in this program. To be clear, Highland actually purchased and paid for Mr.

Dondero’s cell phone (in contrast, some employees used their own cell phones and obtained

expense reimbursement). The policy stated as follows:

                   Your obligations under this policy shall terminate upon the termination of
           your employment, provided that you will remain obligated to furnish historical
           call records covering the period through the date of your termination, as
           requested following the termination of your employment. Employees participating
           in this policy should have no expectation of privacy regarding e-mail, voice mail,
           text messages, graphics, and other electronic data composed, sent, and/or received
           on their cell phones. Notwithstanding the foregoing, Highland agrees not to review
           any call records on an employee’s bill other than those associated with the phone
           number of employee. Further, regardless of whether employees choose to
           participate in this policy, all e-mail, voice mail, text messages, graphics, and other
50
     3/22/21 Transcript at 129:6-11; see more generally, id. at 130-136.
51
     Debtor’s Exh. 54 (DE # 101).


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           electronic data composed, sent, and/or received related to company business
           remain the property of Highland.”52

           Mr. Dondero certified in January 2020 and again on October 7, 2020, that he had read the

Employee Handbook.53 Mr. Dondero testified that he reviewed it and the company’s Compliance

Manual once a year in connection with required compliance training.54

           It is undisputed that as of the day that the TRO was entered (December 10, 2020), Mr.

Dondero had a cell phone that was bought and paid for by the Debtor.55 Mr. Dondero testified that

he would sometimes use it for business texts.56

           From this evidence, the court finds that the cell phone that Mr. Dondero used for the

majority of the Chapter 11 case (and as of the date of the TRO, December 10, 2020) was property

of the bankruptcy estate, as was the data thereon related to company business.

                        Mr. Dondero’s Cell Phone Goes Missing Immediately After Entry of the December
                        10, 2020 TRO. Coincidence or Not?

           Soon after the entry of the December 10, 2020 TRO, on December 23, 2020, Debtor’s

counsel sent Mr. Dondero’s counsel a letter informing him that Highland would:

                    terminate Mr. Dondero’s cell phone plan and those cell phone plans
           associated with parties providing personal services to Mr. Dondero (collectively,
           the ‘Cell Phones’). [Highland] demands that Mr. Dondero immediately turn over
           the Cell Phones to [Highland] by delivering them to [Mr. Dondero’s counsel]; we
           can make arrangements to recover the phones from [Mr. Dondero’s counsel] at a
           later date. The Cell Phones and the accounts are property of [Highland]. [Highland]
           further demands that Mr. Dondero refrain from deleting or “wiping” any
           information or messages on the Cell Phone. [Highland], as the owner of the account




52
     Id. (emphasis added). See also Debtor’s Exh. 55, at 12-13 (DE # 101).
53
     Debtor’s Exhs. 56 & 57 (DE # 101).
54
  3/22/21 Transcript at 37:1-23; 42:1-25. See also Debtor’s Exh. 55 (Employee Handbook); Debtor’s Exhs. 56 & 57
(Compliance Certificates) (DE # 80).
55
     3/22/21 Transcript at 51:17-21
56
     Id. at 51:22-25.


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            and the Cell Phones, intends to recover all information related to the Cell Phones
            and the accounts and reserves the right to use the business-related information.57

            On December 29, 2020, Mr. Dondero’s counsel sent a letter replying to the December 23,

2020 letter, stating that Mr. Dondero had recently acquired a new phone and they were not sure

where Mr. Dondero’s old Highland-provided phone was at the moment.58 Mr. Dondero was copied

on that letter. Nothing was ever mentioned in that letter about the disposal or wiping of the old cell

phone. And yet, in discovery that soon unfolded, as well as the hearing on the Contempt Motion,

Mr. Dondero testified that his old company cell phone had been wiped of data and disposed.

            When Mr. Dondero was asked specifically about what happened to the cell phone he had

that was “bought and paid for by the debtor,” he testified that it “was disposed of as part of getting

a replacement phone in anticipation of potentially a transition.”59 He testified that there was a

historical practice at Highland of destroying old phones when he obtained a new one.60 He testified

that “[a]s far as I know, it was disposed of in the garbage, but I don’t know if it was recycled or

whatever.”61 He said he did not know specifically who threw it away.62 When asked if he was

aware that the UCC had asked for his phone messages, he testified no and that no one had ever told

him.63 He further testified that maybe an employee named Jason Rothstein (an employee in

Highland’s technology group) was involved with getting him a new phone and disposing of his old

phone, but he was equivocal.64 Mr. Dondero was insistent that disposing of old phones was always


57
     Debtor’s Exh. 12, at pp. 2-3 (DE # 80).
58
     Debtor’s Exh. 22 (DE # 80).
59
     1/5/21 Transcript at 72:5-7.
60
     Id. at 72:9-13.
61
     Id. at 72:18-20.
62
     Id. at 73: 4-18.
63
     Id. at 74:19-25.
64
     Id. at 75:7-11.


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the protocol at Highland and, also, employees routinely kept their old phone numbers (as he had

done after leaving Highland and getting a new phone).65 He further testified that he thought that he

and all senior executives had to “move their phones in the next 30 days or next 25 days, based on

Seery’s termination notice.”66           (“Seery’s termination notice” presumably was a reference to

Highland sending a letter on November 30, 2020 that Highland was terminating the shared services

agreements among Highland and the Advisors effective January 30, 2021.67 Of course, Mr. Dondero

had been terminated as a Highland employee back on October 9, 2020).

            An exhibit was shown to Mr. Dondero68 during a January 5, 2021 deposition which was a

text from Jason Rothstein (the aforementioned Debtor employee in the technology group) to Mr.

Dondero dated December 10, 2020 at 6:25 pm. The TRO had been entered earlier that same day at

1:31 pm (after a 9:30 am hearing). Jason Rothstein’s text stated, “I left your old phone in the top

drawer of Tara’s [Mr. Dondero’s assistant’s] desk” to which Mr. Dondero replied “[o]k.”69

            When questioned about this text and asked whether Mr. Dondero had told Jason Rothstein

to do anything with the phone, he replied, “I don’t—all I know is the phone’s been disposed of.

That’s all I know.”70 He then specifically testified that he did not tell either Jason Rothstein or his

assistant Tara to throw the phone in the garbage.71 When later asked if he disposed of the phone

“somewhere around December 10, 2020” he replied “I—I don’t know. Probably.”72 Later at the


65
     Id. at 76:8-77:2.
66
     Id. at 79:25-80:4.
67
     Dondero’s Exhs. 4 & 5 (DE # 106).
68
     Debtor’s Exh. 8 (DE # 80).
69
  While this timing seems very coincidental, Mr. Dondero testified that he had ordered his new cell phone a couple
of weeks before December 10, 2020. 3/22/21 Transcript at 147:17-148:7.
70
     1/5/21 Transcript at 80:18-81:8.
71
     Id. at 81:9-15.
72
     Id. at 85:15-17.



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hearing on the Contempt Motion on March 22, 2021, Mr. Dondero answered more ambiguously as

to what happened to the cell phone: “I don't know what happened to the phone. I don't know what

Jason did or did not do.”73 Nobody called Jason Rothstein to testify at the hearing on the Contempt

Motion. In any event, Mr. Dondero was insistent that he did nothing wrong—stating that he turned

the cell phone over to the “tech group” for the Debtor (Jason Rothstein) as he was supposed to do

and that he wiped it in accordance with company protocol.74 Mr. Dondero further testified:

            Q Do you have any personal knowledge about what happened to your phone after Jason

            Rothstein texted you that he left it in Tara's desk?

            A No.

            Q Did you ever look to see if it was in Tara's desk?

            A No.

            Q Did you -- you -- you didn't take the phone out of Tara’s desk?

            A No.

            Q So did you ever see the phone again after you turned it over to Jason Rothstein?

            A No.

            Q Do you know where the phone is today?

            A But, again, I don't know why this is relevant. They can get the text messages from the

            phone company if they think it's that big of a deal.75

            Q When you previously testified that the phone was disposed of, what did you mean?

73
     3/22/21 Transcript at 57:3-4.
74
     Id. at 58:1-16.
75
  The court did not have any expert evidence of this, but the court believes without much doubt that this is incorrect.
While this may have been true long ago (in the days before iPhones and WiFi communications), Mr. Dondero testified
that he had an iPhone. Whether he uses the iPhone “Messages” text app or some other messaging app such as
“WhatsApp” or “Signal,” his phone company (which he testified was AT&T) would not have his text messages since
text messages are sent through these apps—not the AT&T phone service.



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           A I mean, that's -- that's the last step. That's what always happens to the old phones. But to

           say it was tossed in the garbage, I have no idea. I have no idea what happened to it after it

           went back to Tara’s desk.

           Q So do you have any personal knowledge that your phone was actually disposed of?

           A I don’t know.76

           Is the Missing Phone Any Big Deal?

           Mr. Dondero is rather adamant that this is all much ado about nothing. Is the missing cell

phone a big deal? The answer is “maybe or maybe not.” It depends on what was on it and whether

the data on it was responsive to numerous discovery requests in this bankruptcy case. And in any

event, the phone and any data on it related to Highland was “property of the estate,” pursuant to

section 541 of the Bankruptcy Code.

           With regard to discovery requests, there have actually been many discovery requests in the

bankruptcy case for which any relevant data on Mr. Dondero’s phone would have been

responsive, starting from almost the very beginning, when the UCC sought, among other things,

electronically stored information (“ESI”) from the Debtor and key custodians including Mr.

Dondero.

           For example, back on November 10, 2019 (when the bankruptcy case was still pending in

Delaware), the UCC served its first document request while Mr. Dondero was still CEO and during

which time all original management and inhouse counsel were still intact.77 This first UCC

document request, in seeking communications about numerous topics, defined “Communications”

as including electronic communications such as texts. And the “Instructions” therein to the Debtor


76
     3/22/21 Transcript at 150:5-151:4.
77
     Debtor’s Exh. 15 (DE # 80).



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provided at paragraph 4 that: “You are requested to produce not only those documents in Your

physical possession, but also those documents within Your custody and control, including, without

limitation, documents in the possession of Your agents, employees, affiliates, advisors, or

consultants and any other person or entity acting on Your behalf.”78 To be clear, this was

approximately two months before the January 2020 Corporate Governance Settlement was reached,

with the subsequent installment of the Independent Board. Mr. Dondero was still in control of the

Debtor when this document request would have been served. The UCC served a second document

request on February 3, 2020 (with the same definitions and instructions);79 a third document request

on February 24, 2020 (same definitions and instructions),80 and a fourth document request on July

8, 2020 (same definition and instructions).81

           At the same time as the UCC’s fourth request for document production (on July 8, 2020),

the UCC also filed a motion to compel.82 This motion to compel brought to the court’s attention

for the first time that problems were brewing with the UCC’s efforts to obtain documents that might

be relevant to estate causes of action, and in particular, the UCC motion to compel sought assistance

from the court in the UCC’s efforts to obtain ESI from various custodians of documents of the

Debtor.

           The UCC’s motion to compel reminded the court that the January 2020 Corporate

Governance Settlement explicitly granted the UCC standing to pursue bankruptcy estate claims,

defined as “any and all estate claims and causes of actions against Mr. Dondero, Mr. Okada, other


78
     Id.
79
     Debtor’s Exh. 30 (DE # 80).
80
     Debtor’s Exh. 31 (DE # 80).
81
     Debtor’s Exh. 32 (DE # 80).
82
     Debtor’s Exh. 33 (DE # 80).



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insiders of the Debtor, and each of the Related Entities, including promissory notes held by any of

the foregoing.”83 The parties also agreed in the January 2020 Corporate Governance Settlement

that the UCC would receive any privileged documents or communications that relate to the “Estate

Claims” so that the UCC could bring those claims. In short, the UCC, pursuant to the January 2020

Corporate Governance Settlement, stands in Debtors’ shoes with respect to the “Estate Claims.” In

fact, the January 2020 Corporate Governance Settlement set forth a “Document Production

Protocol,” which stated that ESI was included within the documents being sought and stated that

“Debtor acknowledges that they should take reasonable and proportional steps to preserve

discoverable information in the party’s possession, custody or control. This includes notifying

employees possessing relevant information of their obligation to preserve such data.”84 Thus,

whether Mr. Dondero and inhouse counsel paid attention or not, they were on notice very early in

this case that they had a duty to preserve ESI.

            The UCC motion to compel (again, filed July 8, 2020) further stated that for approximately

eight months, the UCC had attempted to work cooperatively with the Debtor to obtain documents

and communications needed to investigate those claims, and, despite the UCC’s efforts, the Debtor

had not yet provided the UCC with the ESI it had requested. In particular, the UCC alleged that it

had spent a considerable amount of time attempting to obtain “production of emails, chats, texts,

or other ESI or communications from the Debtor.” In summary, the UCC, in July 2020 (some

five months before Mr. Dondero’s cell phone was disposed) moved to compel production of

documents and communications of nine custodians pursuant to a protocol proposed by the UCC

and these nine custodians were Patrick Boyce, Jim Dondero, Scott Ellington, David Klos, Isaac


83
     Id. at 4.
84
     Debtor’s Exh. 2, Exh. 1.C. thereto (DE # 80).



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Leventon, Mark Okada, Trey Parker, Tom Surgent, and Frank Waterhouse. The UCC specifically

stated that for “avoidance of doubt,” it was requesting “all ESI for the nine custodians, including

without limitation, email, chat, text, Bloomberg messaging, or any other ESI attributable to the

custodians.”85

            Notably, Mr. Dondero filed a responsive pleading to this UCC motion to compel—which

would be some indication that he knew about it.86 In his response, he argued that he did not want

Josh Terry (Acis’s manager, with whom he had been in long-running litigation) to get any

documents that might be produced pursuant to the UCC motion to compel.

            Finally, the Debtor also sought document production from Mr. Dondero including ESI in a

formal document request it sent to him dated December 23, 2020.87 More pointedly, on December

23, 2020, Debtor’s counsel sent Mr. Dondero’s counsel the letter mentioned above, in which the

Debtor specifically asked that Mr. Dondero turn over his Highland-purchased cell phone.88

            With regard to awareness about discovery requests, Mr. Dondero testified at his deposition

on January 5, 2021 that he was aware of a document request sent to his lawyers for documents of

his and that he delegated to his lawyers and his assistant, Tara Loiben, the task of responding by

saying, “she has full access to my email, and I gave her my phone for the better part of a couple of

days in the office.”89 He also testified that he understood that the Debtor’s document requests called

for the production of all text messages that were responsive to the requests.90 When asked if he



85
     Id.
86
     Debtor’s Exh. 40 (DE # 101).
87
     Debtor’s Exh. 7 (DE # 80).
88
     Debtor’s Exh. 12 (DE # 80).
89
     See 1/5/21 Transcript at 67:20-69:9. See also Debtor’s Exh. 9 (DE # 80).
90
     Id. at 70:1-6.



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understood the document request was for the time period of December 10, 2020 to the end of the

month, he replied “I didn’t need the details of this. I didn’t get into it. I didn’t do the document

production that I believe was completed and responsive. I delegated it.”91

           Mr. Dondero’s testimony about awareness as to discovery requests has been inconsistent.

Mr. Dondero testified at the hearing on the Contempt Motion that no one ever asked him to preserve

his text messages.92

           The court concludes that Mr. Dondero exercised control over property of the estate (i.e., his

Highland-provided cell phone and the company-related data thereon) and potentially spoliated

evidence thereon that was responsive to multiple, pending discovery requests. Whether this

amounted to contempt of the TRO will be addressed in the Conclusions of Law section below.

            The Evidence Regarding Whether Mr. Dondero Trespassed.

           In the December 23, 2020 letter that Debtor’s counsel sent to Mr. Dondero’s counsel

mentioned earlier (that demanded turn over of Mr. Dondero’s cell phone), it also stated that

Highland:

                   has concluded that Mr. Dondero’s presence at the [Highland] office suite
           and his access to all telephonic and information services provided by [Highland]
           are too disruptive to [Highland’s] continued management of its bankruptcy case to
           continue. As a consequence, Mr. Dondero’s access to the offices located at 200/300
           Crescent Court, Suite 700, Dallas, Texas 75201 (the “Office”), will be revoked
           effective Wednesday, December 30, 2020 (the “Termination Date”). As of the
           Termination Date, Mr. Dondero’s key card will be de-activated and building staff
           will be informed that Mr. Dondero will no longer have access to the Office.93




91
     Id. at 70:17-20.
92
     3/22/21 Transcript at 152:1-11.
93
     Debtor’s Exh. 12 (DE # 80).



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            The letter went on to warn that: “Any attempt by Mr. Dondero to enter the Office, regardless

of whether he is entering on his own or as a guest, will be viewed as an act of trespass. Similarly,

any attempts by Mr. Dondero to access his @highlandcapital.com email account or any other

service previously provided to Mr. Dondero by [Highland] will be viewed as an act of trespass,

theft, and/or an attempted breach of [Highland’s] security protocols.”94

            Mr. Dondero testified that he was aware of this and he nevertheless went into the office on

January 5, 2021, to give a deposition regarding this Adversary Proceeding:

                    I went through my phone, the January 5th deposition that has somehow
            become important, even though there were no Highland employees in the office
            other than the receptionist, is memorialized by a calendar invite on my phone --
            which will also be in the Highland system -- where it was an invite a week earlier
            from Sarah Goldsmith, who was one of the Highland employees supporting the
            legal team that was largely supporting Jim Seery, sent me a calendar invite to the
            conference room at Highland for the deposition on the 5th. It's right front and center
            in my calendar. It'll be on the Highland Outlook program. And Sarah Smith -- I
            mean, Sarah Goldsmith works directly for Jim Seery.95

            The court concludes that Mr. Dondero was trespassing against the Debtor’s wishes and

instructions at the Highland offices on January 5, 2020. Whether this amounted to contempt of the

TRO will be addressed in the Conclusions of Law section below.

                    The Evidence Regarding Whether Mr. Dondero Interfered with Trading of Highland
                    CLO Assets.

            It is undisputed that Mr. Dondero resigned (at the Debtor’s request) completely from

Highland on October 9, 2020. About a week later, on October 16, 2020, a law firm representing the

Advisors and the NexPoint/HCMFA Funds sent its first of several letters complaining about the

Debtor’s supposed rush to sell assets in the Highland CLOs at so-called fire sale prices and



94
     Id. at 3.
95
     3/22/21 Transcript at 179:7-18.



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expressing a desire that the Debtor not sell the Highland CLO assets without prior notice and

consent of the Advisors. The second in this series of letters was sent in November 2020. Mr.

Dondero testified that he supported these letters being sent.96

            What was this about? The Debtor sought during certain times in November and December

2020 to cause the Highland CLOs to sell certain publicly-traded equity securities, including

“AVYA” and “SKY’ (stock tickers). Mr. Dondero disagreed that these securities should be sold.

At issue here, in particular, are the Debtor’s attempted sales in late December 2020—after entry of

the TRO. Mr. Dondero testified at a deposition on January 5, 2021, that he gave instructions to a

Debtor employee, Hunter Covitz, not to sell “SKY” equity after Mr. Covitz had been instructed by

Mr. Seery to sell it.97 He also testified that he communicated with an employee named Matt Pearson,

an equity trader, informing him that certain Non-Debtor Highland Related Entities (“HFAM” and

“DAF”)—who were investors in the NexPoint/HCMFA Funds—had “instructed Highland in

writing not to sell any CLO underlying assets. There is potential liability. Don’t do it again.”98

Matt Pearson, in response, canceled scheduled sales of SKY as well as AVYA.99 Mr. Dondero also

communicated with an employee of one of the Advisors named Joe Sowin regarding stoppage of

trades of CLO assets. Mr. Dondero explained: “My intent was to prevent trades that weren’t in the

best interests of investors, that investors—the beneficial holders had articulated they didn’t want

sold while these funds were in transition, and that the–there was no business purpose to benefit the

debtor to sell these assets.”100 To be clear, the so-called investors/beneficial holders were Non-


96
     1/26/21 Transcript at 61:4-18.
97
     1/5/21 Transcript at 41:22-43:11.
98
     Id. at 43:15-44:08.
99
     Id.
100
      Id. at 50:8-14; see also, id. at 89:8-25.



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Debtor Highland Related Entities under the control of Mr. Dondero. And the Debtor, indeed, did

have a business purpose—despite Mr. Dondero’s belief that Mr. “Seery had no business purpose

and he was doing it to tweak myself and everybody else.”101 For one thing, the Debtor is owed fees

from managing these Highland CLOs and it cannot just defer them indefinitely—Highland needed

liquidity to fund its Chapter 11 plan. Moreover, Mr. Seery credibly testified that he had consulted

with many advisors on the Highland and Advisors team, and he concluded it was a good time to

sell the AYVA and SKY securities. In any event, Mr. Dondero also communicated with Debtor

employee Thomas Surgent, the Chief Compliance Officer, to inform him that he thought Mr. Seery

was engaging in improper trades of Highland CLO assets and told Mr. Surgent he might face

personal liability over this.102 Finally, Mr. Dondero communicated with a text to Mr. Seery that

stated: “Be careful what you do, last warning.”103 As a result of this conduct, the Debtor notified

Mr. Dondero’s counsel that they were essentially evicting Mr. Dondero from access to the Highland

offices effective December 31, 2020 and terminating his Highland email account.104

            Mr. Dondero stated that he communicated as he did regarding the Highland CLO asset sales

because he thought Mr. Seery was acting improperly with the trades he was attempting to

execute.105 Mr. Dondero testified at the hearing on the Contempt Motion that he may have interfered

with trades the week of Thanksgiving, but he did not after entry of the TRO. The evidence does

not seem to support this testimony.106



101
      Id. at 55:5-6.
102
      Id. at 60:23-61-25.
103
      Id. at 62:25.
104
      See Debtor’s Exh. 12 (DE # 80).
105
      1/5/21 Transcript at 63:1-64:20.
106
      3/22/21 Transcript at 80-81.



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            Mr. Dondero testified that he only talked to Jason Post about trades in late December and

that Jason Post was not a Debtor employee but rather an employee of NexPoint.107

            What was at the bottom of this? Mr. Dondero said he “viewed it as a violation of the

Advisers Act and the spirit of the Advisers Act, when the beneficial holders have told you they're

going to change managers and don't want their account liquidated.”108 Mr. Post inconsistently

testified at one hearing that he believed the trades violated Advisors’ policies and procedures

because they were not initiated through an electronic system called the OMS (Order Management

System).109 It appears to this court that Mr. Dondero wanted these funds to be kept intact and not

have any assets liquidated until he could get a new company up and running (or maybe one of his

existing companies) to hopefully take over Highland’s role of managing these Highland CLOs.

            In any event, the Debtor pointed out, in response to Mr. Dondero’s “defense” of his

interference—that he was looking out for investors—that Mr. Dondero himself, during January-

October 2020, while still an employee of Highland, traded a significantly larger amount of the

AVYA stock that was held in the Highland CLOs, sometimes at a lower price than Mr. Seery did

or attempted.110 Mr. Seery, in fact, credibly testified that the original impetus to sell AVYA came

from Mr. Hunter Covitz, one of the Highland CLO portfolio managers, who had been looking at

this security and noticed it had started moving up after performing extremely poorly post its own

Chapter 11. Mr. Covitz, during the summer of 2020, believed Highland should “start lightening

up” on the AVYA holdings, and Mr. Seery also had the following additional personnel look into it:

Kunal Sachdev (Highland analyst); Joe Sowin (head trader at HCFMA) and Matthew Gray (another


107
      Id. at 162.
108
      3/22/21 Transcript at 168:22-25.
109
      1/26/21 Transcript at 223:11-16.
110
      Id. at 106:9-20, 159-161.



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senior analyst). They determined (Mr. Sachdev, in particular) that AVYA had reached its peak and

even though it could continue to go up, they just did not think the value was there and thought it

should be sold. A similar analytical process was undertaken with the SKY equity holdings.111

            One might wonder, if Mr. Dondero and the Advisors and the NexPoint/HCMFA Funds

believed that Mr. Seery and the Debtor were mismanaging the Highland CLOs, why not offer to

take them over during Highland’s case (or as part of Highland’ Chapter 11 plan)? Mr. Seery

credibly testified that:

            Q Has the Debtor made any attempt to transfer the CLO management agreements to the
            Defendants or to others?

            A Well, our original construct of our plan was to do that. We've since determined, when
            we tried to do that, we got virtually no response from the Dondero interests. The structure
            of the original thought of the plan was if we didn't get a grand bargain we would effectively
            transition a significant part of the business to Dondero entities, they would assume employee
            responsibilities and the operations, and then assure that the third-party funds were not
            impacted.

            As I think I testified on the -- I can't recall if it was the deposition or my prior testimony in
            court -- Mr. Dondero, true to his word, told me that would be very difficult, he would not
            agree, and he has made that very difficult.

            So we examined it. We've determined that we're going to maintain the CLOs and assume
            them. But we originally tried to contemplate a way to assign those management
            agreements.112

            What’s really going on here? These Highland CLOs are one of the ways that the Debtor

earns revenue. Specifically, the CLO SPEs must pay fees to the Debtor. Highland’s management

of the CLO SPEs generates about $4.5-$5 million of fees for it per year.113 That sometimes requires

liquidation of assets in the CLO SPEs to pay the fees, since not all of the assets in the CLO SPEs



111
      Id. at 156-157.
112
      Id. at 163:5-22.
113
      Id. at 187:5-12.



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are cash-generative.114 To be more specific, these are very old CLOs that are no longer in a

reinvestment period. The manager (Highland) can no longer sell assets and reinvest cash in new

assets. Thus, the manager must either hold them or sell them. But the assets are for the most part

not loans anymore—they are equity (such as MGM stock) and real estate. Many of the assets, as

stated, do not regularly generate cash, so the only way Highland can generate cash to pay

management fees is to sell assets (presumably at prudent times). When there is interference with

liquidation of assets in the CLO SPEs, it interferes with Highland’s revenue stream. Yes, it also

reduces the assets in the CLO SPEs ultimately available for the equity tranche. But there would

appear to be nothing in any contract (or any law presented to the court) that precludes Highland

from liquidating assets in the CLO SPEs, from time to time, to pay its fees or otherwise as it

deems fit—and the evidence was not at all convincing that there was any sort of bad decision

making ongoing in that regard. Most importantly, it was Highland’s decision to make when and

how to liquidate assets. It is easy to see a conflict of interest here. To the extent assets in a Highland

CLO are not cash-generative, they will not have liquid funds to pay Highland, as portfolio manager,

its management fees. That’s not optimal for Highland to indefinitely defer/accrue management

fees. But it would be optimal for Mr. Dondero and the Advisors as equity holders—they would

rather see assets kept in the Highland CLOs longer to hopefully grow their investment. And it also

might be optimal for Mr. Dondero and the Advisors for Highland to decide they do not want to

manage these Highland CLOs anymore (because of inconsistent ability to pay management fees)

and perhaps agree to assign their management agreements over to the Advisors so Mr. Dondero

could once again have ultimate, total control over the Highland CLOs. Conspicuously absent on

this issue are the indenture trustees and other ultimate equity holders of the Highland CLOs. Only


114
      Id. at 189:12-18.


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Non-Debtor Dondero-Related equity holders have complained. The indenture trustees for the

Highland CLOs even agreed to Highland continuing to be the portfolio manager on these CLOs

post-confirmation.

          The court concludes that Mr. Dondero interfered with the Debtor’s trading of Highland CLO

assets after entry of the TRO. Whether this amounted to contempt of the TRO will be addressed in

the Conclusions of Law section below.

                 The Evidence Regarding Mr. Dondero’s Communications with Debtor
                 Employees—in Particular, with Inhouse Counsel—to Coordinate His Own Legal
                 Strategy Against the Debtor.

          It is apparent from the evidence (numerous emails) that Mr. Dondero communicated with

Highland inhouse general counsel Scott Ellington (who was terminated from Highland in January

2021) about all kinds of things post-TRO other than shared services, including Mr. Dondero’s own

personal litigation strategies.115 As a reminder, Section 2(c) of the TRO stated that Mr. Dondero

was enjoined, “from communicating with any of the Debtor's employees, except as it specifically

relates to shared services provided to affiliates owned or controlled by Mr. Dondero” (emphasis

added).

          Mr. Dondero asserts that after entry of the TRO, he never spoke with any Debtor employees,

including Mr. Ellington, regarding anything other than shared services, a “pot plan,” and to Mr.

Ellington in connection with his role as settlement counsel. In other words, Mr. Dondero’s defense

is that, yes, he conversed with Scott Ellington regarding things other than shared services provided

to affiliates—such as Mr. Dondero’s desire to propose a “pot plan” in the case and maybe a few

other subjects—but this was permissible because Mr. Ellington was understood by all to be in some




115
   See, e.g., Debtor’s Exhs. 17, 18, 21 (DE # 80); Debtor’s Exhs. 48, 49, 50, 52, 53 (DE # 101). See also 3/22/21
Transcript at 122:1-124:7; 124:15-125:12.


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sort of role of “settlement counsel” in the case: “Scott Ellington, as my settlement counsel, or as

the go-between with Seery and with the creditors, was an important piece of trying to get something

done.”116 But this is simply not accurate. This court never would have approved that role for Mr.

Ellington. Moreover, Mr. Seery, the current Highland CEO, credibly testified as follows:

                     Q Did you task Mr. Ellington with the role of a go-between between the
                     board and Mr. Dondero?

                     A No. This -- this settlement counsel is something I'd never heard until
                     Dondero raised it and made it up. It -- it's wholly fictitious.

                     Now, what Ellington did do is he was on a number of calls with me and
                     Dondero, and he had a communication line with Dondero. This was through
                     the first half of the case and into -- into the summer. But as it started to
                     become more adversarial, particularly around the mediation, he wasn't
                     invited. So, for example, Mr. Ellington was not invited to -- to participate
                     in the mediation. He asked. I said no.

                     The -- in addition, this idea that he was drafting the pot plan, well, not to
                     my knowledge or understanding, because I drafted it for Dondero and his
                     lawyers because you guys [Pachulski] couldn't.117


Mr. Seery further credibly testified as follows:

                     Q So you're denying Mr. Dondero's testimony to the contrary?

                     A Yes.

                     Q Did Mr. Dondero send messages to you through Mr. Ellington?

                     A No. Mr. Ellington often came back and gave me messages. They were
                     often critical of Mr. Dondero. I didn't always believe them, because I
                     figured Mr. Ellington had an ulterior motive. But he took a number of, you
                     know, shots at Mr. Dondero and he came back and gave his color of what
                     he thought was going on in Mr. Dondero's mind.118



116
      3/22/21 Transcript at 135:3-5.
117
      Id. at 257:6-21.
118
      Id. at 258:2-12.



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           In addition to this testimony, the documentary evidence reflects that just two days after the

TRO was entered, Mr. Dondero was communicating with Scott Ellington seeking advice regarding

an appropriate witness to support his interests at an upcoming hearing.119 And just six days after

entry of the TRO, Mr. Dondero was emailing Mr. Ellington telling him “I’m going to need you to

provide leadership here” and Ellington replies “[o]n it.”120 Additionally, there are emails reflecting

that inhouse lawyers Scott Ellington and Isaac Leventon were receiving and responding to

information requests from Mr. Dondero121 and were being copied on draft joint defense agreement

prepared by the Dugaboy and Get Good Trusts’ counsel.122 And Mr. Dondero emailed with Scott

Ellington on December 24, 2020 regarding his unhappiness and intention to object to a settlement

between HarbourVest and Debtor.123

                    The Evidence Regarding Interference with Debtor’s Duty to Produce Documents to
                    the UCC.

           On December 16, 2020, at 5:18 pm Mr. Dondero sent Melissa Schroth, a Highland employee

(executive accountant), a text stating: “No dugaboy details without subpoena.”124 This was a

reference to document requests from the UCC in which they were seeking documents that were on

the Highland server concerning Mr. Dondero’s family trust, the Dugaboy Trust.




119
   Debtor’s Exh. 17 (DE # 80) (Scott Ellington email to Mr. Dondero and his counsel on 12/12/20 at 11:55 pm
suggesting JP Sevilla for a witness for some unknown hearing). See also Debtor’s Exh. 26 (DE # 80).
120
      See Debtor’s Exh. 18 (DE # 80).
121
      See Debtor’s Exh. 20 (DE # 80).
122
      See Debtor’s Exh. 24 (DE # 80).
123
      Debtor’s Exh. 21 (DE # 80).
124
      See Debtor Exh. 19 (DE # 80).



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           VI.     Conclusions of Law

           A. Jurisdiction and Authority.

           Bankruptcy subject matter jurisdiction exists in this matter, pursuant to 28 U.S.C. § 1334(b).

This bankruptcy court has authority to exercise such subject matter jurisdiction, pursuant to 28

U.S.C. § 157(a) and the Standing Order of Reference of Bankruptcy Cases and Proceedings (Misc.

Rule No. 33), for the Northern District of Texas, dated August 3, 1984. This is a core matter

pursuant to 28 U.S.C. § 157(b) in which this court may issue a final order. Section 105 of the

Bankruptcy Code and the cases construing it are the substantive legal authority.

           The Contempt Motion seeks for this court to hold Mr. Dondero in civil contempt of court

for violating an order of this court (the TRO). It is well established that bankruptcy courts have

civil (as opposed to criminal) contempt powers. “The power to impose sanctions for contempt of

an order is an inherent and well-settled power of all federal courts—including bankruptcy

courts.”125 A bankruptcy court’s power to sanction those who “flout [its] authority is both necessary

and integral” to the court’s performance of its duties.126 Indeed, without such power, the court

would be a “mere board[ ] of arbitration, whose judgments and decrees would be only advisory.”127



125
    In re SkyPort Global Comm’s, Inc., No. 08-36737-H4-11, 2013 WL 4046397, at *1 (Bankr. S.D.Tex. Aug. 7,
2013), aff'd., 661 Fed. Appx. 835 (5th Cir. 2016); see also In re Bradley, 588 F.3d 254, 255 (5th Cir. 2009) (noting
that “civil contempt remains a creature of inherent power[,]” to “prevent insults, oppression, and experimentation with
disobedience of the law[,]” and it is “widely recognized” that contempt power extends to bankruptcy) (quoting 11
U.S.C. § 105(a), which states, in pertinent part, that “[t]he court may issue any order, process, or judgment that is
necessary or appropriate to carry out the provisions of this title.”); Placid Refining Co. v. Terrebonne Fuel & Lube,
Inc. (In re Terrebonne Fuel & Lube, Inc.), 108 F.3d 609, 613 (5th Cir.1997) (“[W]e assent with the majority of the
circuits … and find that a bankruptcy court's power to conduct civil contempt proceedings and issue orders in
accordance with the outcome of those proceedings lies in 11 U.S.C. § 105.”); Citizens Bank & Trust Co. v. Case (In
re Case), 937 F.2d 1014, 1023 (5th Cir. 1991) (held that bankruptcy courts, as Article I as opposed to Article III courts,
have the inherent power to sanction and police their dockets with respect to misconduct).
126
      SkyPort Global, 2013 WL 4046397, at *1.
127
   Id. (internal quotations omitted); see also Bradley, 588 F.3d at 266 (noting that contempt orders are both necessary
and appropriate where a party violates an order for injunctive relief, noting such orders “are important to the
management of bankruptcy cases, but have little effect if parties can irremediably defy them before they formally go
into effect.”).


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            Contempt is characterized as either civil or criminal depending upon its “primary

purpose.”128 If the purpose of the sanction is to punish the contemnor and vindicate the authority of

the court, the order is viewed as criminal. If the purpose of the sanction is to coerce the contemnor

into compliance with a court order, or to compensate another party for the contemnor’s violation,

the order is considered purely civil.129 It is clear that Highland’s intent is to both seek compensation

for the expenses incurred by Highland, due to Mr. Dondero’s alleged violations of the TRO, and to

coerce compliance going forward.130

            B. Type of Civil Contempt: Alleged Violation of a Court Order.

            There are different types of civil contempt, but the most common type is violation of a court

order (such as is alleged here). “A party commits contempt when [they] violate[] a definite and

specific order of the court requiring [them] to perform or refrain from performing a particular act

or acts with knowledge of the court's order.”131 Thus, the party seeking an order of contempt in a

civil contempt proceeding need only establish, by clear and convincing evidence:132 “(1) that a




128
      Bradley, 588 F.3d at 263.
129
      Id. (internal citations omitted).
130
    Highland seeks the following relief in the Contempt Motion: an order (i) finding and holding Mr. Dondero in
contempt for violating the TRO; (ii) directing Mr. Dondero to produce to the Debtor and the UCC within three days
all financial statements and records of Dugaboy and Get Good for the last five years; (iii) directing Mr. Dondero to
pay the Debtor’s estate an amount of money equal to two times the Debtor’s actual expenses incurred in bringing this
Motion and addressing Mr. Dondero’s conduct that lead to the imposition of the TRO and this Motion (e.g., responding
to the K&L Gates Clients’ frivolous motion and related demands and threats and taking Mr. Dondero’s deposition),
payable within three (3) calendar days of presentment of an itemized list of expenses, (iv) imposing a penalty of three
(3) times the Debtor’s actual expenses incurred in connection with any future violation of any order of this Court, and
(iv) granting the Debtor such other and further relief as the court deems just and proper under the circumstances.
131
      Travelhost, 68 F.3d at 961.
132
   United States v. Puente, 558 F. App’x 338, 341 (5th Cir. 2013) (per curiam) (internal citation omitted) (“[C]ivil
contempt orders must satisfy the clear and convincing evidence standard, while criminal contempt orders must be
established beyond a reasonable doubt.”).


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court order was in effect, and (2) that the order required certain conduct by the respondent, and (3)

that the respondent failed to comply with the court's order.”133

            C. Specificity of the Order.

            “To support a contempt finding in the context of a TRO, the order must delineate ‘definite

and specific’ mandates that the defendants violated.”134 The court need not, however, “anticipate

every action to be taken in response to its order, nor spell out in detail the means in which its order

must be effectuated.”135

            D. Possible Sanctions.

            To be clear, if the court ultimately determines that Mr. Dondero is in contempt of court, for

not having complied with the TRO, the court can order what is necessary to: (1) compel or coerce

obedience of the order; and (2) to compensate the Debtor/estate for losses resulting from Mr.

Dondero’s non-compliance with a court order.136 The court must determine that the Debtor/movant

showed by clear and convincing evidence that: (1) the TRO was in effect; (2) the TRO required

certain conduct by Mr. Dondero; and (3) that Mr. Dondero failed to comply with the TRO.137

“[T]he factors to be considered in imposing civil contempt sanctions are: (1) the harm from

noncompliance; (2) the probable effectiveness of the sanction; (3) the financial resources of the

contemnor and the burden the sanctions may impose; and (4) the willfulness of the contemnor in




133
   F.D.I.C. v. LeGrand, 43 F.3d 163, 170 (5th Cir. 1995); see also Martin v. Trinity Indus., Inc., 959 F.2d 45, 47 (5th
Cir.1992) (same); Travelhost, 68 F.3d at 961 (same).
134
      Am. Airlines, Inc. v. Allied Pilots Ass'n, 228 F.3d 574, 578 (5th Cir. 2000) (citing Fed. R. Civ. P. 65).
135
      Id.
136
   In re Gervin, 337 B.R. 854, 858 (W.D. Tex. 2005) (citing United States v. United Mine Workers, 330 U.S. 258
(1947)).
137
   In re LATCL&F, Inc., 2001 WL 984912. *3 (N.D. Tex. 2001) (citing to Petroleos Mexicanos v. Crawford
Enterprises, Inc., 826 F.2d 392, 400 (5th Cir. 1987)).


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disregarding the court's order.”138 “Compensatory civil contempt reimburses the injured party for

the losses and expenses incurred because of [their] adversary's noncompliance.”139 Ultimately,

courts have “broad discretion in the assessment of damages in a civil contempt proceeding.”140

            E. Knowledge of the Order.

            “An alleged contemnor must have had knowledge of the order on which civil contempt is

to be based. The level of knowledge required, however, is not high. And intent or good faith is

irrelevant.”141 To be clear, “intent is not an element in civil contempt matters. Instead, the basic

rule is that all orders and judgments of courts must be complied with promptly.”142

            F. Willfulness of Actions.

            For civil contempt of a court order to be found, “[t]he contemptuous actions need not be

willful so long as the contemnor actually failed to comply with the court's order.”143 For a stay

violation, the complaining party need not show that the contemnor intended to violate the stay.

Rather, the complaining party must show that the contemnor intentionally committed the acts which

violate the stay. Nevertheless, in determining whether damages should be awarded under the court's




138
  Lamar Financial Corp. v. Adams, 918 F.2d 564, 567 (5th Cir. 1990) (citing United States v. United Mine Workers,
330 U.S. 258 (1947)).
139
   Norman Bridge Drug Co. v. Banner, 529 F.2d 822, 827 (5th Cir.1976); see also Travelhost, 68 F.3d at 961 (noting
that “[b]ecause the contempt order in the present case is intended to compensate [plaintiff] for lost profits and
attorneys' fees resulting from the contemptuous conduct, it is clearly compensatory in nature.”); In re Terrebonne Fuel
& Lube, Inc., 108 F.3d at 613 (affirming court’s decision to impose sanctions for violating injunction and awarding
plaintiff costs and fees incurred in connection with prosecuting defendant’s conduct); F.D.I.C., 43 F.3d 168 (affirming
court’s imposition of sanctions requiring defendant to pay movant attorneys’ fees).
140
   Am. Airlines, 228 F.3d at 585; see also F.D.I.C., 43 F.3d 168 (reviewing lower court’s contempt order for “abuse
of discretion” under the “clearly erroneous standard.”); In re Terrebonne Fuel & Lube, Inc., 108 F.3d at 613 (“The
bankruptcy court's decision to impose sanctions is discretionary[]”).
141
      Kellogg v. Chester, 71 B.R. at 38.
142
   In re Unclaimed Freight of Monroe, Inc., 244 B.R. 358, 366 (Bankr. W.D. La. 1999). See also In re Norris, 192
B.R. 863, 873 (Bankr. W.D. La. 1995) (“Intent is not an element of civil contempt.”)
143
      Id. (citing N.L.R.B. v. Trailways, Inc., 729 F.2d 1013, 1017 (5th Cir.1984)).


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contempt powers, the court considers whether the contemnor’s conduct constitutes a willful

violation of the stay.144

           G. Applying the Evidence to the Literal Terms of the TRO.

           The court concludes that there is clear and convincing evidence that Mr. Dondero violated

the specific wording of the TRO in certain ways and, thus, is in contempt of the court as follows.

           1. The TRO states in Section 2(c) that Mr. Dondero is enjoined, “from communicating
              with any of the Debtor's employees, except as it specifically relates to shared services
              provided to affiliates owned or controlled by Mr. Dondero.”

           There are several examples of violations of this provision.                           And many of the

communications appeared to be adverse to the Debtor’s interests.

           First, notably, Mr. Dondero actually admitted that he had conversations with some Debtor

employees, including Scott Ellington, after December 10, 2020, regarding things other than “shared

services,” including a “pot plan” and, more generally, in connection with Mr. Ellington’s role as

“settlement counsel”: “Scott Ellington, as my settlement counsel, or as the go-between with Seery

and with the creditors, was an important piece of trying to get something done.”145 As indicated

earlier, this court never would have approved that role for Mr. Ellington, and Mr. Seery credibly

testified that this was never approved by him or the Independent Board. There was no exception for

this in the TRO. As for Mr. Dondero’s desire to pursue a pot plan, again, there's nothing in the

TRO that allowed Mr. Dondero to speak with any of the Debtor's employees about the pot plan. It

is clear that he knew that because on December 16, 2020, just six days after the TRO was entered,

Mr. Dondero filed a motion seeking to modify the TRO to allow Mr. Dondero to speak directly

with the Independent Board about a pot plan. He later withdrew that motion.146


144
      In re All Trac Transport, Inc., 306 B.R. 859, 875 (Bankr. N.D. Tex. 2004) (internal citations omitted).
145
      3/22/21 Transcript at 135:3-5.
146
      See DE # 24.


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           Additionally, as noted earlier in this Opinion, it appears that Mr. Dondero communicated

with inhouse lawyer Scott Ellington about all kinds of other things such as: (a) reporting to him

about his intention to object to the settlement by the Debtor of the HarbourVest claim;147 (b)

reporting to him about his desire to collaborate with UBS and its counsel to give them “evidence of

Seery ineptitude” and they would “run with it”;148 (c) forwarding email conversations to Scott

Ellington that Mr. Dondero was having with his counsel (and thereby eviscerating attorney-client

privilege as to those emails) about various disputes involving certain Non-Debtor Dondero-Related

Entities and regarding the Debtor’s desire to seek discovery from Mr. Dondero;149 (d) reviewing a

joint defense agreement that the lawyer for his family trusts (Dugaboy and Get Good) had

drafted;150 and (e) “showing leadership”—whatever that meant—but likely meaning coordinating

of all the many lawyers involved for Mr. Dondero’s interests.151

           Finally, Mr. Dondero communicated with Highland employee (executive accountant)

Melissa Schroth about resisting production of Dugaboy documents that were on the Highland server

without a subpoena152 and Jason Rothstein about his phone.153

              In summary, Mr. Dondero violated Section 2(c) of the TRO numerous times.154 His intent

does not matter. He knew about the TRO. Thus, he was in contempt for these numerous violations.



147
      Debtor’s Exh. 21 (DE # 80).
148
      Debtor’s Exh. 50 (DE # 101).
149
      Debtor’s Exh. 52 & 53 (DE # 101).
150
      See Debtor’s Exh. 24 (DE # 80).
151
      Debtor’s Exh. 18 (DE # 80). See also 3/22/21 Transcript at 122:1-124:7; 124:15-125:12.
152
      See Debtor Exh. 19 (DE # 80) (on December 16, 2020, at 5:18 pm: “No dugaboy details without subpoena.”).
153
      Debtor’s Exh. 8 (DE # 80); 1/5/21 Transcript at 80-55; 3/22/21 Transcript at 57-58.
154
    The court notes that there was also clear and convincing evidence to suggest various conversations occurred
between Mr. Dondero and his assistant Tara Loiben after December 10, 2020. However, it is not clear from the record
if Tara Loiben was a Highland employee or an employee of one of the Non-Debtor Dondero-Related Entities.
Moreover, there was evidence to suggest Mr. Dondero communicated with Mr. Ellington on December 11-12, 2020
regarding who should be a witness for Mr. Dondero at an upcoming hearing. However, the evidence of this was not

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            2. The TRO states at Section 3(a) that Mr. Dondero is “enjoined from causing,
               encouraging, or conspiring with (a) any entity owned or controlled by him, and/or (b)
               any entity acting on his behalf, from, directly or indirectly, engaging in any Prohibited
               Conduct” (and the “Prohibited Conduct” includes “interfering with or otherwise
               impeding” the Debtor's “decisions concerning disposition of assets controlled by the
               Debtor”).

            The court concludes that there is clear and convincing evidence that Mr. Dondero violated

this provision.

            Things had grown very awkward at Highland, to say the least, by October 2020 when Mr.

Dondero was terminated. It is clear from the evidence that Mr. Dondero did not like the way the

bankruptcy case was playing out (his pot plan was not getting the attention or reception he hoped

for from the UCC and the Debtor) and he did not like certain trading decisions that Mr. Seery was

making. Conflicts of interest between the Debtor and Mr. Dondero (and the Non-Debtor Dondero-

Controlled Entities) were seeming more and more problematic. It was against this backdrop that

the TRO was entered. It was also against this backdrop that Mr. Dondero and his Non-Debtor

Dondero-Related Entities began hiring armies of lawyers. In the midst of all of this, Mr. Dondero

gave instructions to a Debtor employee, Hunter Covitz, not to sell “SKY” equity after Mr. Covitz

had been instructed by Mr. Seery to sell it.155 He also communicated with an employee named Matt

Pearson, an equity trader, informing him that certain Non-Debtor Highland Related Entities

(“HFAM” and “DAF”)—who were investors in the NexPoint/HCMFA Funds—had “instructed

Highland in writing not to sell any CLO underlying assets. There is potential liability. Don’t do it

again.”156 Matt Pearson, in response, canceled scheduled sales of SKY, as well as AVYA. Mr.


clear and convincing that Mr. Dondero spoke directly with Mr. Ellington (as opposed to being copied on conversations
among Mr. Ellington and Mr. Dondero’s counsel). See Debtor’s Exhs. 17 (DE # 80), 48 & 49 (DE # 101).
155
      1/5/21 Transcript at 41:22-43:11.
156
      Id. at 43:15-44:08.


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Dondero also communicated with an employee of one of the Advisors named Joe Sowin regarding

stoppage of trades of CLO assets.157 Mr. Dondero also communicated with Debtor employee

Thomas Surgent, the Chief Compliance Officer, to inform him that he thought Mr. Seery was

engaging in improper trades of Highland CLO assets and told Mr. Surgent he might face personal

liability over this.158 Finally, Mr. Dondero communicated with a text to Mr. Seery that stated: “Be

careful what you do, last warning.”159

            Mr. Dondero’s “defense” of his interference—that he was looking out for investors—is

neither relevant nor entirely credible. As earlier indicated, intent does not matter with civil

contempt. Moreover, the evidence was credible that Mr. Dondero himself, postpetition, while still

an employee of Highland, traded a significantly larger amount of the AVYA stock that was held in

the Highland CLOs, sometimes at a lower price than Mr. Seery did or attempted.160

              In summary, Mr. Dondero violated Section 3 of the TRO. His intent does not matter. He

knew about the TRO. Thus, he was in contempt of court for interfering with or otherwise impairing

the Debtor’s business, including its decisions concerning disposition of assets controlled by the

Debtor.

            3. The TRO states in Section 2(e) that Mr. Dondero shall not violate section 362(a) of
               the Bankruptcy Code.

            The Debtor has argued that Mr. Dondero’s actions with regard to the disappearing cell phone

provided to him by the Debtor amounted to a violation of the automatic stay, section 362(a)(3) (as

an exercise of control over property of the estate—i.e., the phone and its data thereon) and, thus, a



157
      Id. at 50:8-14; see also id. at 89:8-25.
158
      Id. at 60:23-61-25.
159
      Id. at 62:25.
160
      Id. at 106:9-20, 159-161.



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violation of this provision of the TRO. While the court is more than a little troubled by the

mysterious disappearance of the cell phone—just hours after entry of the TRO and after a year of

numerous ESI requests by the UCC during the case—the court cannot conclude that the

disappearance was a clear and convincing violation of the TRO. There may or may not be a later

evaluation of whether a spoliation of evidence has occurred, but for now, this is simply a matter of

whether the TRO was violated.

            As earlier stated, “To support a contempt finding in the context of a TRO, the order must

delineate ‘definite and specific’ mandates that the defendants violated.”161 While the court need

not, however, “anticipate every action to be taken in response to its order, nor spell out in detail the

means in which its order must be effectuated,”162 the court concludes that the TRO simply was not

specific enough with regard to the phone. The TRO did not specifically state “turn over your cell

phone.” A letter on December 23, 2020 from Debtor’s counsel to Mr. Dondero’s counsel later

made such a demand,163 but this was not the same as there being a mandate in the four corners of

the TRO. Additionally, the Highland Employee Handbook made it clear that the phone and its data

were the Debtor’s.164 But this, too, is not the same as the TRO’s literal terms.

            Mr. Dondero should not consider this to be a victory. The court reiterates that it is highly

concerned about possible spoliation of evidence that may or not be presented in a contested

matter later.165 At the same time, no one else should consider “spoliation” to be a foregone


161
      Am. Airlines, Inc. v. Allied Pilots Ass'n, 228 F.3d 574, 578 (5th Cir. 2000) (citing Fed. R. Civ. P. 65).
162
      Id.
163
      Debtor’s Exh. 12 (DE # 80).
164
      Debtor’s Exhs. 54 & 55 (DE # 101).
165
    See Fed. R. Civ. Proc. 37(e) (dealing with failure to preserve electronically stored information); Hawkins v.
Gresham, No. 3:13-CV-00312-P, 2015 WL 11122118, at *3 (N.D. Tex. Jan. 16, 2015) (dealing with the question of
whether a defendant’s sale of his phone containing relevant text messages after being notified of a lawsuit was a breach
of his duty to preserve evidence); Paisley Park Enterprises, Inc. v. Boxill, 330 F.R.D. 226, 230-237 (D. Minn. 2019)
(dealing with whether two defendants’ loss of relevant text messages resulting from their phones’ auto-delete function

                                                              47
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conclusion here. The court never heard testimony from Jason Rothstein or Tara Loiben (who seem

to have been involved with the disappearing phone). The court never heard evidence as to whether

the inhouse lawyers (e.g., Scott Ellington, Isaac Leventon) properly addressed with Highland

employees, such as Mr. Dondero, as they should have, the preservation notice and document

requests served on the Debtor by the UCC.166 The court also cannot be sure at this time whether

there was even relevant and retrievable information on the phone. The court has many lingering

questions, but it cannot find contempt of the TRO based on the TRO’s lack of specificity where the

cell phone was concerned.

           4. Other Allegations of TRO Violations.

           The Debtor has cited various other instances of Mr. Dondero’s behavior that it believes were

violative of the TRO. For example: (a) Mr. Dondero’s alleged willful ignorance of it by not reading

it or underlying pleadings associated with it; (b) trespassing on the Debtor’s property after the

Debtor had evicted him; and (c) allegedly interfering with the Debtor’s obligation to produce certain

documents that were requested by the UCC and that were in the Debtor’s possession, custody, and




constituted spoliation of evidence when the defendants had explicitly discussed the possibility of litigation before the
deletion and were principals of the company being sued); First Fin. Sec., Inc. v. Freedom Equity Grp., LLC, No. 15-
CV-1893-HRL, 2016 WL 5870218, at *3-4 (N.D. Cal. Oct. 7, 2016) (dealing with whether Defendants’ intentional
deletion of text messages after they had discussed the likelihood of litigation was spoliation of evidence under Rule
37(e); also, whether sanctions were warranted when it was unclear whether the information contained in the deleted
text messages would have been critical to plaintiff’s claims); Living Color Enterprises, Inc. v. New Era Aquaculture,
Ltd., No. 14-CV-62216, 2016 WL 1105297, at *1-2, 4-7 (S.D. Fla. Mar. 22, 2016) (dealing with whether the deletion
of text messages from Defendant’s cell phone as a result of the phone’s auto-delete feature after he reasonably
anticipated litigation was spoliation of evidence that prejudiced the Plaintiff; also, whether Defendant’s failure to
disable the auto-delete feature that resulted in the deletion of text messages was evidence of his intent to deprive
Plaintiff of relevant evidence.); Clear-View Tech., Inc. v. Rasnick, No. 5:13-CV-02744-BLF, 2015 WL 2251005, at
*2, 7-11 (N.D. Cal. May 13, 2015) (whether Defendants spoliated text message evidence by purposefully deleting
emails and discarding cell phones after receiving messages threatening a lawsuit from Plaintiff and discussing the
possibility of litigation); Kan-Di-Ki, LLC v. Suer, No. CV 7937-VCP, 2015 WL 4503210, at *30 (Del. Ch. July 22,
2015) (whether Plaintiff’s deletion of relevant emails and loss of his cell phone constituted spoliation and whether
sanctions were warranted).
166
      Debtor’s Exhs. 29-33 (DE # 80).


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control. While the allegations are problematic, the court does not conclude these actions constituted

civil contempt of the TRO.167

           With regard to Mr. Dondero’s alleged “willful ignorance” of the TRO, it is technically not

a violation of any term of the TRO. The most important thing here is that Mr. Dondero cannot claim

lack of knowledge of the TRO’s contents. As mentioned earlier, “[a]n alleged contemnor must have

had knowledge of the order on which civil contempt is to be based. The level of knowledge required,

however, is not high.”168 When Mr. Dondero testified that he had not read the TRO (or the

underlying pleadings supporting it), maybe he was trying to imply lack of knowledge of its terms

as some sort of defense? Or maybe he really did not care to read the TRO and was relying entirely

upon his counsel to tell him all of its terms. Whatever the explanation, it really does not matter

much. The court determines that Mr. Dondero had the necessary knowledge of the TRO, for

purposes of holding him accountable for compliance with it, but—even if he was somewhat cavalier

in not actually reading the TRO line-for-line—this alone is not a violation of the TRO’s terms.

           With regard to Mr. Dondero’s trespassing on the Debtor’s property after the Debtor had

evicted him, the problem here is that the “eviction” of Mr. Dondero occurred pursuant to the letter

that Debtor’s counsel sent to Mr. Dondero’s counsel on December 23, 2010—not pursuant to the

actual terms of the TRO.169 The TRO itself did not specifically enjoin Mr. Dondero from going to


167
     The court should add that it does not conclude that letters sent by counsel for the Advisors and the
NexPoint/HCMFA Funds, seeking to stop the sale of Highland CLO assets, and a motion that they filed to address
Highland CLO management issues, constituted contempt of court by Mr. Dondero. See Debtor’s Exh. 25 (DE # 80).
While Mr. Dondero, as the President and portfolio manager of these Non-Debtor Dondero-Related entities, was/is no
doubt in control of them, and while it is a very close call as to whether—through these lawyers’ actions—Mr. Dondero
was causing “(a) any entity owned or controlled by him, and/or (b) any person or entity acting on his behalf,” to
interfere with the disposition of assets controlled by the Debtor, the court ultimately believes that hiring lawyers to
file motions (and those lawyers taking steps leading up to the filing of the motions, such as sending letters previewing
that they may take legal actions), should not be viewed as having crossed the line into contemptuous behavior. Again,
this was a close call.
168
      Kellogg v. Chester, 71 B.R. at 38.
169
      Debtor’s Exh. 12 (DE # 80).


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the Highland offices. The later preliminary injunction entered on January 8, 2021 for the first time

contained such an injunction.170 Thus, even though Mr. Dondero showed up in the Debtor’s offices

on January 5, 2021 to sit for the Debtor’s virtual deposition of him, the court does not conclude that

this violated a term of the TRO.

           With regard to Mr. Dondero’s allegedly interfering with the Debtor’s obligation to produce

certain documents that were requested by the UCC and that were in the Debtor’s possession,

custody, and control, the court understands this to be a reference to Mr. Dondero texting Highland

employee Melissa Schroth and instructing her not to turn over documents concerning the Dugaboy

Trust (that were on Highland’s server) without a subpoena.171 The court has already addressed this

as a TRO violation, since it was a communication with a Highland employee regarding matters

other than “shared services.” For the avoidance of doubt, there was no shared services agreement

between the Dugaboy Trust and Highland. This clearly was a TRO violation.

 V. Damages.

           The Contempt Motion requests that the court (i) find and hold Mr. Dondero in contempt for

violating the TRO; (ii) direct Mr. Dondero to produce to the Debtor and the UCC, within three days

all financial statements and records of Dugaboy and Get Good for the last five years; (iii) direct Mr.

Dondero to pay the Debtor’s estate an amount of money equal to two times the Debtor’s actual

expenses incurred in bringing this Motion, payable within three calendar days of presentment of an

itemized list of expenses; (iv) impose a penalty of three times the Debtor’s actual expenses incurred

in connection with any future violation of any order of this Court, and (v) grant the Debtor such

other and further relief as the court deems just and proper under the circumstances.



170
      DE # 59 at ¶ 5.
171
      Debtor’s Exh. 19 (DE # 101).


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       As indicated earlier, the court can order what is necessary to: (1) compel or coerce obedience

of an order; and (2) to compensate the Debtor/estate for losses resulting from Mr. Dondero’s non-

compliance with a court order. Here, the court believes compensatory damages are more appropriate

than a remedy to compel or coerce future compliance. Compensatory damages are supposed to

reimburse the injured party for the losses and expenses incurred because of their adversary's

noncompliance. Courts have broad discretion but may consider such factors as: (1) the harm from

noncompliance; (2) the probable effectiveness of the sanction; (3) the financial resources of the

contemnor and the burden the sanctions may impose; and (4) the willfulness of the contemnor in

disregarding the court's order.

       As far as the harm from noncompliance, the Debtor presented invoices of the fees incurred

by its counsel relating to the TRO and Contempt Motion. The Debtor did not attempt to quantify

any potential economic harm to the Debtor from Mr. Dondero’s prohibited conversations with

Debtor employees and attempted interference with trading. Should this matter? Once again, is this

much ado about nothing? In answering this question, context matters. Recall that the Corporate

Governance Settlement between the Debtor and UCC from January 2020 was all about removing

Mr. Dondero from control of the Debtor but avoiding the drastic remedy of a Chapter 11 Trustee.

It was heavily negotiated and extremely detailed in its terms. Ultimately, Mr. Dondero was kept

around at the company in a non-control capacity, but eventually conflicts between the Debtor and

him (and between the Debtor and the Non-Debtor Dondero-Related Entities) became intolerable.

Mr. Dondero was, therefore, terminated. But almost immediately, he essentially began instructing

Debtor employees to ignore their boss (Mr. Seery) and do as Mr. Dondero said instead. All of this

was occurring at a critical time when the Debtor had filed a Chapter 11 plan, was still negotiating

it with creditors, and was set for a confirmation hearing—and, meanwhile, Mr. Dondero was trying



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to gain support for his own pot plan that would involve him regaining control of the company and/or

transitioning the Debtor’s managed funds over to his control. His interference—even if not

ultimately resulting in quantifiable harm to the Debtor’s balance sheet or cash flow—posed a risk

to the Debtor’s plan of reorganization that, ultimately ended up being supported by hundreds of

millions of dollars-worth of creditors (in fact, all creditors except the Non-Debtor Dondero-Related

Entities). The reality is that the Debtor’s counsel acted quickly in bringing the Contempt Motion

before much damage could be done. The fact that they acted swiftly—before the Debtor had

incurred any quantifiable damage other than significant attorneys’ fees—should not preclude the

Debtor from alleging harm and receiving reimbursement of its attorneys’ fees and expenses incurred

relating to the TRO and Contempt Motion.

           As far as the attorneys’ fees incurred relating to the TRO and Contempt Motion, the Debtor

presented invoices of the fees incurred by its primary bankruptcy counsel, Pachulski Stang, during

December 2020 and January 2021, pertaining to “Bankruptcy Litigation”—much of which it

represented related to its attorney time devoted to the Contempt Motion. The Debtor admitted that

there were some other litigation matters mixed in these invoices.172 Total December fees were

$526,686. The court has reviewed the December invoice and conservatively estimates that

$170,919 of the fees reflected in the December invoice related to the TRO and Contempt Motion

(other fees appeared to relate to other litigation matters such as the HarbourVest settlement, Pat

Daugherty issues, UBS, demand note litigation, and Dugaboy claims). Total January fees were

$698,770. The court has reviewed this invoice and conservatively estimates that $195,002 of the

fees reflected in the January 2021 invoice related to the TRO and Contempt Motion (again, other




172
      Debtor’s Exhs. 38 & 39 (DE # 128).


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fees appeared to relate to other litigation matters such as UBS and other litigation). These two sums

total $365,921.

       However, the hearing on this matter (as a result of continuances sought by Mr. Dondero)

did not occur until March 22 & 24, 2021. The court was presented with no invoices for February

or March. The court estimates that the hearing on this matter (March 22 & 24, 2021) required 10

hours of in-court time. The primary attorney handling this matter for the Debtor (Mr. Morris)

charged at $1,245 per hour and his paralegal (Ms. Canty) charged $425 per hour. The court will

assume that they each spent 10 hours during the day or two before the hearing preparing for it. This

would amount to an additional $33,400 of fees, bringing the total now to $399,321. The court

stresses that it used conservative math when scrutinizing the invoices. Moreover, this represents

fees only. The court assumes that the various depositions and transcripts required as a result of this

litigation resulted in many thousands of dollars of additional expenses. Also, Pachulski had local

counsel (Hayward & Associates) whose invoices were not submitted. Additionally, the UCC had

counsel monitoring all of this (Sidley & Austin)—whose fees and expenses are reimbursed by the

bankruptcy estate—and their fees and expenses have not been included. In summary, the $399,321

number is extremely conservative, and it does not include likely significant add-ons (expenses;

local counsel; and UCC counsel). The court determines that it is reasonable to round the $399,321

number up approximately $50,000, to $450,000 because of these extra items. In considering the

probable effectiveness of the sanction, the financial resources of Mr. Dondero and the burden the

sanctions may impose, and the willfulness of Mr. Dondero in disregarding the court's TRO, the

court believes—based on information it has learned at numerous hearings about Mr. Dondero’s

compensation and the size of the companies he has been running for almost 30 years—he has

substantial resources, and this $450,000 compensatory sanction will not place much of a burden on



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him at all. The court believes that there was willfulness with regard to many of Mr. Dondero’s

actions. The court has no idea about the probability of these sanctions being effective. Time will

tell.

        The Debtor has asked for the court to impose a penalty of three times the Debtor’s actual

expenses incurred in connection with any future violation of any order of this Court. The court

declines to do this. However, the court will add on a sanction of $100,000 for each level of

rehearing, appeal, or petition for certioriari that Mr. Dondero may choose to take with regard to

this Order, to the extent any such motions for rehearing, appeals, or petitions for certiorari are not

successful.

        Accordingly, it is hereby ORDERED that:

        (i)     Mr. Dondero is in civil contempt of court in having violated the court’s December

                10, 2020 TRO—the court having found by clear and convincing evidence that: (1)

                the TRO was in effect and Mr. Dondero knew about it; (2) the TRO required certain

                conduct by Mr. Dondero; and (3) Mr. Dondero failed to comply with the TRO;

        (ii)    In order to compensate the Debtor’s estate for loss and expense resulting from Mr.

                Dondero’s non-compliance with the TRO, Mr. Dondero is directed to pay the Debtor

                (on the 15th day after entry of this order) an amount of money equal to $450,000;

        (iii)   The court will add on a sanction of $100,000 for each level of rehearing, appeal, or

                petition for certioriari that Mr. Dondero may choose to take with regard to this

                Order, to the extent that any such motions for rehearing, appeals, or petitions for

                certiorari are pursued by him and are not successful;

        (iv)    Other sanctions are denied at this time; and

        (v)     The court reserves jurisdiction to interpret and enforce this Order.



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                    ### End of Memorandum Opinion and Order ###




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